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 6   and Michael Corson

 7
 8                                 UNITED STATES BANKRUPTCY COURT
 9               CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
10

11

12
     In re                                          )   BANKRUPTCY CASE NO. 8:18-bk-12449-TA
13                                                  )
                                                    )
14   GREGORY ANTON WAHL                             )   ADVERSARY CASE NO.
                                                    )
15                              Debtor.             )
16   _ _________ ____                               )
                                                    )
                                                      COMPLAINT FOR DETERMINATION OF
                                                      NONDISCHARGEABILITY OF DEBT
                                                    ) UNDER 11 U.S.C. §§ 523 (a) (2) (A) and 523
17   W. MICHAEL CORSON & CO., APC, a                ) (a) (6).
     California professional corporation and        )
18   MICHAEL CORSON, an individual,                 )
                                                    )
19                              Plaintiffs,         )
                                                    )
20   V.                                             )
                                                    )
21   GREGORY ANTON WAHL, an individual, )
                                        )
22                Defendant.            )
                                        )
23
     - --     - - --        -     - -- - - - - )
24

25   Plaintiffs allege as follows:
26

27
28




                                                    - 1-                         Whal AP/Complaint
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 1                                        JURISDICTION AND VENUE
 2              1.    This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.

 3   § 157 and 28 U .S.C. § 1334. This matter is a core proceeding filed pursuant to 28 U .S.C. § 157 (b)

 4   (2) (I).
 5              2.    Venue is proper in this Court Pursuant to 28 U.S.C. 1409.

 6              3.    This adversary proceeding is commence d pursuant to Rule 7001 (6) of the Federal

 7   Rules of Bankruptcy Procedure and 11 U.S.C. § 523.

 8                                        STATEMENT OF STANDING
 9              4.     Plaintiffs incorporate herein paragraphs 1 through 3, inclusive of this Complaint,
10   as if set forth here in full.

11              5.    Plaintiffs are creditors of Defendant, and thus have standing to bring this action

12   pursuant to 11 U.S.C. § 523. The deadline for filing this complaint is October 12, 2018. Because

13   this Complaint is being filed prior to that date, Plaintiffs have timely filed this action.

14                                      PARTIES TO THE PROCEEDING
15              6.    Plaintiff W. Michael Corson & Co., APC ("Corson Co.") is a California

16   corporation . At all times herein mentioned, Corson Co. maintained its principal place of business

17   in the County of San Diego.

18              7.    Plaintiff Michael Corson ("Corson") is an individual. At all times herein
19   mentioned, he was the 100% shareholde r of Plaintiff Corson Co., and his residence is located at

20   1547 Lorraine Drive, Encinitas, California 92024, within the County of San Diego, State of

21   California.

22              8.   Defendant Gregory Wahl ("Wahl") is the Debtor in the above-entit led Bankruptcy

23   Case. He is an individual conducting business in various locations in the State of California and,

24   on information and belief, is alleged to have his principal residence in the County of Orange, State

25   of California. At all times herein mentioned, Wahl conducted his business as a certified public

26   accountant through the firm of Anton & Chia, LLP, a California limited liability partnership

27   ("A&C"). At all times herein mentioned, Wahl was the Managing Partner of A&C.

28              9.   Plaintiffs are informed and believe and based thereon allege that at all times




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                      1   herein mentioned, Defendant and A&C were acting as agents, servants, employees, partners and/or
                      2   principals of each other and, in doing the things hereinafter alleged, were acting within the course

                      3   and scope of their duty and authority with the permission, knowledge, consent and ratification of

                      4   each other.

                      5                                        GENERAL ALLEGAT IONS
                      6           10.     In late 2013, A&C and Plaintiffs began discussions for a transaction whereby
                      7   A&C would acquire the Plaintiffs' accounting practice and Corson would perform professional
                      8   accounting services to clients as one of A&C's accountants (the "Acquisition").
                      9           11.     Prior to May 9, 2014, A&C had provided Plaintiffs with a proposed letter of intent
                     10   outlining the terms of the proposed Acquisition. On May 9, 2014, defendant Wahl met with
                     11   Corson to discuss the initial letter of intent.
                     12           12.     On or about July 17, 2014, during the course of a telephone conference between
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                     13   defendant Wahl and Corson the terms of the letter of intent were finalized.
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o...o ~~~            14           13.     On or about July 25, 2014, Corson traveled to A&C's offices in Newport Beach and
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o::: ~"'. 5 !'.l     15   Westlake Village, California to meet with key accountant s within the A&C organization who were
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<~ ~g~               16   identified as partners in a meeting with Corson in anticipation of the Acquisition .
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    >- - :;i ~       17           14.     On or about September 2, 2014, defendant Wahl traveled to Corson Co. ' s office
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                     18   to be introduced to Corson Co.'s staff. During the course of that introductory meeting, defendant
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                     19   Wahl announced that Plaintiffs' accounting practice had been acquired by A&C.
                     20           15.     Thereafter, and effective as of August 31, 2014, the contractual terms of the
                     21   Acquisition were memorialized in a written " Asset Purchase Agreement," a true copy of which is
                     22   attached hereto as Exhibit A and incorporated herein by this reference (the "8/31 /14 APA").
                     23          16.      Plaintiffs fully performed all of their obligations as required by the 8/31/14
                     24   APA.
                     25          17.     A&C did not fully and timely perform all of its obligations as required by the
                     26   8/31 /1 4 APA. Payments due from A&C were frequently late and/or underpaid. This pattern of
                     27   unexcused and non-compliant payment included, but was not limited to, the unexcused failure to
                     28   pay the first buy-out installment payment ($115,000.00) when it became due on January 1, 2015.




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  1           18.     The pattern of A&C 's unexcused non-compliance continued throughout 2015.
 2            19.     On February 12, 2016, A&C and Plaintiffs made a written modification of the
 3    8/31 / 14 APA which was memorialized in a written "Amendment to Asset Purchase Agreement," a
 4    copy of which is attached hereto marked Exhibit B and incorporated herein by this reference (the

 5    "2/12/16 Amendment"). Among other things, the 2/12/16 Amendment reduced the "Purchase
 6    Price" provided in the 8/31/14 APA from $460,000.00 to $372,000.00, and acknowledged that
 7    Corson Co. 's entitlement to that sum was fully earned as of September 1, 2015. (The 8/31/14 APA
 8    as amended by the 2/12/16 Amendment is hereafter referred to as the "Amended APA").
 9                                        The Contract Was Breached
10          20.     Plaintiffs have fully performed all of their obligations under the Amended APA.
11          21.     Wahl, while in control of A&C, caused it to breach its obligations to Plaintiffs under
12 he Amended APA by, among other things, failing to pay Plaintiffs amounts which became due
13     der the terms of that contract. There is presently a total of $148,933.23 which is due and owing
14     der the Amended APA.
15          22.     Under the terms of the Amended APA, the additional sum of $78,000.00 became due
16     d payable from A&C to Corson Co. on January 1, 2018. Wahl engaged in a bad faith and
17    eceptive course of conduct related to Plaintiffs to insure that the sum of $78,000.00 due from his
18 lter ego A&C on January 1, 2018 was not paid.
19          23.     The total sum now due to Corson Co. under the Amended APA is an amount in
20 xcess of $226,933.23.
21                        Wahl, In Concert With And/Or Through A&C, Makes
                           Intentional Misrepresentations To Plaintiffs (Fraud)
22
23          24.     During the course of negotiations, which resulted in the 8/31/14 APA, defendant
24     ahl made several representations to Plaintiffs touting the financial strength of A&C and assuring

25    laintiffs that A&C had the financial capacity to fully and timely pay its obligations to Plaintiffs in
26    y contractual agreements that it made for the Acquisition. Those representations included, but
27    ere not limited to, the express representation that A&C had financing in place that would allow it
28 o make all payments as they came due under any contract for the Acquisition.




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                          1           25.   All of those representations were false. The true facts were that, at the time the
                          2 epresentations were made and at all times thereafter, A&C did not have the financial ability to meet

                          3 ts obligations as they came due under contractual commitments made in connection with the

                          4    cquisition in general, or the 8/31/14 APA in particular. Without limiting the generality of the
                          5 oregoing, the true facts also included the fact that A&C did not have in place the financing

                          6   rrangements necessary to meet its obligations under the 8/31/14 AP A.
                          7           26.   The representations made by Wahl were known by him to be false at the time
                          8    ade.

                          9           27.   The false representations made by Wahl were material facts that affected
                         10   laintiffs' decision to proceed with the Acquisition in general, and the 8/31/ 14 APA in particular.
                         11           28.   The false statements as hereinabove alleged were made by Wahl for the purpose

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                         12   f defrauding Plaintiffs and inducing them to enter into the Acquisition in general, and the 8/31/14
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                   i     13   PA in particular, without understanding the real financial risks associated with that transaction.
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c.. o-s:~                14           29.   Plaintiffs relied on the accuracy of the representations made by Wahl.
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O::: z>o:;!              15           30.   Plaintiffs' reliance on those representations was justified because, among other
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                         16 hings, Wahl was the "Managing Partner" of A&C and the person most knowledgeable as to its
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~CIJ30 ~                 17 mancial strength, financing arrangements, and ability to perform the obligations undertaken by
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                  ..     18   &C in connection with the Acquisition in general, and the 8/31/14 APA in particular.
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                         19           31.   On or about January 28, 2015, after A&C defaulted in its obligation to pay Corson
                         20   o. $115,000.00, defendant Wahl, again acting on behalf of A&C but for his personal benefit, in an
                         21   ffort to induce Corson to continue performing his obligations under the 8/31 / 14 APA , represented
                         22 o Corson that the payment would be made in the near term "as soon as financing was complete."

                         23   hat representation was false and known by Wahl to be false at the time.
                         24           32.   On or about May 5, 2015, Wahl, in an additional effort to induce Corson to
                         25   ontinue to provide his services as contemplated by the 8/31/14 APA, represented that the
                         26   115,000.00 payment due on January 1, 2015, would be fully made.
                         27           33.   That representation was also known by Wahl to be false when he made it. On or
                         28   bout May 27, 2015, a partial payment in the amount of $50,000.00 was made, and Wahl falsely




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                          1 epresented that the balance of $65,000.00 would be paid by June 15, 2015. That representation was

                          2   lso false. The final $65,000.00 payment was not made until or about November 25, 2015.

                          3         34.     Wahl's misrepresentations as hereinabove alleged were made on behalf of and for

                          4 he benefit of A&C.
                          5         35.     On information and belief, Plaintiffs allege that A&C either authorized Wahl to
                          6    ake the false representations to Plaintiffs as hereinabove alleged, or since the misrepresentations
                          7   ave been made, A&C has ratified the acts of Wahl in making those misrepresentations
                          8         36.     Due to the conduct of defendant Wahl, Plaintiffs have been damaged by the
                          9    isrepresentations hereinabove alleged in an aggregate amount in excess of $226,933.23.
                         10                Wahl and A&C Actively Engage In Acts Of Fraudulent Concealment
                         11         3 7.    During the course of negotiations, which resulted in the 8/31/14 APA, defendant
                         12    ahl made several representations to Plaintiffs touting the financial strength of A&C and assuring
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u .... ~                 13   laintiffs that A&C had the financial capacity to fully and timely pay its obligations to Plaintiffs in
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  --~ s ~ :e             14    y contractual agreements that it made for the Acquisition. Those representations included, but
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                         15   ere not limited to, the express representation that A&C had financing in place that would allow it
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                         17         38.     During the course of those negotiations, Wahl owed Plaintiffs a duty of good faith
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                   Cl.   18    d fair dealing which includes a duty to disclose all information necessary to prevent the
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                         19 nformation that was disclosed during the negotiations from being misleading.
                         20         39.     Defendant Wahl disclosed some facts to Plaintiffs concerning A&C's financial
                         21   trength and performance, but intentionally failed to disclose other facts (including, but not limited
                         22 o, the need for additional financing which - although in negotiation - was not contractually
                         23   vailable), making the disclosures actually made deceptive.
                         24         40.     On information and belief, Plaintiffs allege that at the time that Wahl was
                         25   onducting negotiations with Plaintiffs, A&C was in default in obligations it had assumed to other
                         26 ccountants and accounting firms whose assets they had acquired in transactions similar to those
                         27   eing negotiated with Plaintiffs. Wahl intentionally failed to disclose those facts, and other facts
                         28    own to him which made his actual disclosures concerning A&C's financial strength and ability to




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                        1 erform its contractual obligations deceptive.
                        2         41.     The facts that Wahl intentionally, and for the purpose of causing Plaintiffs harm,

                        3 ailed to disclose were known only to him and others within the A&C organization, and they could
                        4   ot have been discovered by Plaintiffs.
                        5         42.     Plaintiffs were in fact unaware of the facts intentionally concealed by Wahl.
                        6         43.     Wahl intended to deceive and harm Plaintiffs by concealing material facts as
                        7   ereinabove alleged.
                        8         44.     Had the omitted information been disclosed, Plaintiffs reasonably would have
                        9   ehaved differently prior to and in the course of finalizing their contractual relationships with A&C.
                       10         45.     Wahl 's concealment as hereinabove alleged was a substantial factor in causing
                       11
                       12         46.     On information and belief, Plaintiffs allege that A&C either authorized Wahl to
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Ur                     13   onceal material facts as hereinabove alleged, or since the concealment, A&C has ratified the acts of
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o.. o~ ~~              14    ahl in concealing those material facts .
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OBJ~~     "'           15
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0;:, < !: ...                     4 7.    Due to the conduct of defendant Wahl, Plaintiffs have been damaged by the
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<(O~g N                     isrepresentations hereinabove alleged in an aggregate amount in excess of $226,933.23.
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:I:: >- -«:!:-         17                The Civil Conspiracy Formed And Implemented by Wahl And A&C
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  0                               48.     On information and belief, Plaintiffs allege that Defendants Wahl and A&C, together
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                       19   ith other unnamed persons (collectively referred to as the "Conspirators") were, at all times
                       20   entioned herein, persons in control of A&C, and owed to Plaintiffs a duty of good faith, fair
                       21   ealing and honesty in their negotiations with Plaintiffs on behalf of A&C.
                       22         49.     Each of the Conspirators was aware that they collectively planned to breach the
                       23   hove-referenced duties of good faith, fair dealing and honesty in order to induce Plaintiffs into
                       24 ntering into the 8/31/14 APA by misstating or concealing the true risks associated with that

                       25
                       26         50.     Each of the Conspirators agreed with each of the other Conspirators that the
                       27    ongful acts alleged above should be committed for their personal benefit, and the benefit of
                       28   &C, and to the Plaintiffs' detriment.




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             51.      Plaintiffs have been damaged by the conspiracy alleged above in an amount currently

         own, but not less than $226,933.23.

                      Plaintiffs Prosecute a State Court Action and Obtain Judgement
             52.      On May 11 , 2017, Plaintiffs commenced an action against Wahl, A&C and others by
 5 iling a verified complaint alleging, among other things, the facts alleged above (the "State Court

 6    ction"). The State Court Action was filed in the North County Branch of the Superior Court of the

 7   tate of California for the County of San Diego, case number 37-2017-0017223-CU-BC-NC.
 8           53.     The Summons and Complaint in the State Court Action were properly served upon


10           54.     Neither Wahl nor A&C responded to the Summons and Complaint, and on July 27,
11   017, the Superior Court entered a default against both of them.
12           55.     On March 2, 2018, the Superior Court entered its "Judgment by Default" in favor of

13   laintiffs, and against Wahl and A&C, in the total amount of $256,053.36 (the "Judgment"). A true
14   opy of the Judgment is attached hereto as Exhibit C, the entirety of which, including its findings of

15 act and conclusions of law, are incorporated herein by reference as if the same were fully set forth
16   t this point.

17           56.     No appeal of the Judgment was taken, and the Judgment is now final.
18           57.     No portion of the Judgment has been paid, and as of the date of filing of the above-
19   ntitled Bankruptcy Case there was due and owing on account of the Judgment the aggregate sum of
20   265,664.97. Post-petition/post-judgment interest continues to accrue at the rate of 10% per annum
21   $70.17 per day).

22                                       FIRST CLAIM FOR RELIEF
23                 Determination of Nondischargeability of Debt - 11 U.S.C. § 523(a)(2)(A)
24           58.     Plaintiffs incorporate herein by this reference all of the allegations contained in
25   aragraphs 1 through 57 above, inclusive, as though the same were fully set forth herein at this
26   oint.
27           59.     As shown by the facts hereinabove alleged, including, without limitation, the facts
28   stablished in the Judgment, defendant Wahl obtained money and property through false pretenses,




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                      1 alse representations and actual fraud.
                      2          60.     Accordingly, Wahl's obligations and liabilities to Plaintiffs are nondischargeable
                      3   nder Section 523(a)(2)(A) in an amount to be shown at trial.
                      4                                    SECOND CLAIM FOR RELIEF
                      5                Determination of Nondischargeability of Debt - 11 U.S.C. § 523(a)(6)
                      6          61.     Plaintiffs incorporate herein by this reference all of the allegations contained in
                      7   aragraphs 1 through 60 above, inclusive, as though the same were fully set forth herein at this
                      8
                      9          62.     As shown by the facts hereinabove alleged, including, without limitation, the facts
                     10 stablished in the Judgment, defendant Wahl has willfully and maliciously inflicted injury upon
                     11   oth of the Plaintiffs.
                     12         63.      Accordingly, Wahl 's obligations and liabilities to Plaintiffs are nondischargeable
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                     13    der Section 523(a)(6) in an amount to be shown at trial.
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o... o -~U;                     Wherefore, Plaintiffs pray for judgment against defendant Wahl as follows:
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o ::>:;;!::~         15         64.      On the First Claim for Relief:
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                     16                  64.1 . The Court declare that the debt owed to Plaintiffs by defendant Wahl pursuant
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    >-- ~:e.         17                  to the Judgment ($265,664.97 as of the Petition Date in the Bankruptcy Case),
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~   6         ii:    18                 together with Post-petition interest accruing at the rate of 10% per annum ($70.17
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                     19                 per day) are excepted and excluded from the force and effect of any discharge that
                     20                 defendant Wahl may receive in the above-entitled Bankruptcy Case;
                     21                 64.2. The Court award Plaintiffs their costs of suit as shown by proof; and,
                     22                 64.3 The Court award Plaintiffs such other and further relief as the Court deems
                     23                 just and proper.
                     24         65.     On the Second Claim for Relief:
                     25                 65. 1. The Court declare that the debt owed to Plaintiffs by defendant Wahl pursuant
                     26                 to the Judgment ($265 ,664.97 as of the Petition Date in the Bankruptcy Case),
                     27                 together with Post-petition interest accruing at the rate of 10% per annum ($70.17
                     28                 per day) are excepted and excluded from the force and effect of any discharge that




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                      1               defendant Wahl may receive in the above-entitled Bankruptcy Case;
                      2               65.2. The Court award Plaintiffs their costs of suit as shown by proof; and,
                      3               65 .3 The Court award Plaintiffs such other and further relief as the Court deems
                      4               just and proper.

                      5
                          ated: October 6, 2018                     KEEHN LAW GROUP
                      6                                             A Professional Corporation
                      7                                             By: /Isl/ L. Scott Keehn
                                                                    L. Scott Keehn
                      8                                             Attorneys for Plaintiffs
                                                                    W. Michael Corson & Co., APC and
                      9                                             Michael Corson
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                                  ASSET PUR CHA SE AGR EEM ENT
         THIS ASSET PUR CHA SE AGR EEM ENT (this "Agr
                                                                   eeme nt") is made as of this 31 st
 day of Augu st, 2014 (the "Effective Date") by and
                                                       amon g Anto n & Chia, LLP., a California
 Limited Liability Partnership (the '"Purchaser"),
                                                   W. Michael Cors on & Co. APC a Calif ornia
 professional corpo ratio n ("Seller") and W. Mich
                                                    ael Corson, CPA , an individual ("Corson").
 Purchaser, Seller and Cors on are some times herei
                                                    nafter referred to collectively as the "Part ies''
 and individually as a "Part y."

                                                   REC ITAL S
        A.      Purchaser is a Certified Public Accounting firm and
                                                                    partnership in good stand ing
 and duly licensed by the California Board of Acco
                                                   untancy;
         B.     Selle r is a Certified Public Accounting firm and corpo
                                                                        ratio n in good standing and
 duly licensed by the California Board of Accountan
                                                      cy;

        C.     Cors on is the sole officer and director, and owne
                                                                  r of one hund red perce nt
 ("100 "% of the issued and outstanding shares of
                                                  comm on stock, of Seller, and is a Certified
 Public Acco untan t in good standing with, and
                                                  duly licensed by, the Calif ornia Boar d of
 Accountancy~

         D.      Purc haser desires to acquire the clien t list, and clien
                                                                             t relationships of Seller and
 Othe r Assets (defin ed below ) of Seller, and Selle r
                                                        desires to sell its client list, client relationships
 and Othe r Asse ts to Purchaser.

         E.        Corson as the sole officer, direc tor and shareholde
                                                                          r of Seller consents to, approves
 and ratifies the sale to Purc haser of Selle r's client
                                                          list, client relationships and Othe r Asse ts, as
 herei nafte r defined.

      F.      The Parties desire to make certain representations
                                                                         , warranties, covenants and
agreements in conn ectio n with Purc haser 's acquisitio
                                                         n of Selle r's clien t list, client relationships
and Othe r Asse ts,  as herei nafte r defin ed.

         NOW , THE REF ORE , in consideration of the prem
                                                                  ises, the Parties agree as follows:
      The Recitals set forth above are contractual and are
                                                           incorporated in and made a part of this
Agreement.

                                                   Article 1
                                                  Acqu isitio n
        1.01 Assets. Effective as of August 31, 2014
                                                                (the "Acquisition Date"), Purchaser
hereby purchases and acquires, and Seller, hereby sells,
                                                           assigns, transfers, conveys and delivers to
Purchaser (the "Acquisition"), the client list and curre
                                                         nt client relationships of Seller as identified
in Exhibit "A," attached hereto (the "Clients"), infor
                                                         mation technology to support said Clients,
and the perso nal prope rty ident ified on Exhi bit "B", attac hed heret o (the "Oth
                                                                                     er Asse ts""). The
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Clients, information technology and the Other Assets are
                                                                  hereinafter sometimes collectively
referred to as the (or Seller 's ) "Pract ice Assets." No other
                                                                   assets of Seller are a part of this
Agreement, and all of them shall be retained by Seller.
                                                                The Seller will terminate all of its
employees effective as of the Acquisition Date, and will
                                                                fully and diligently cooperate with
Purchaser to effectuate the employment of those employees
                                                                 by Purchaser as to those employees
that Purchaser, in its sole discretion, desires to employ on and after the Acqui
                                                                                 sition date.
         1.02 Liabil ities. Effective as of the Acquisition Date, Purch
                                                                              aser hereb y assumes the
obligation to continue and complete all work in process relativ
                                                                     e to Seller 's Clients. Seller and
Corson will retain all liabilities, debts, obligations, expenses and
                                                                     other comm itmen ts of Seller and
Corson related to the Practice Assets and all other liabilities,
                                                                     debts, obligations, expenses and
other commitments of Seller and Corson (the "Reta ined
                                                                  Liabilities") and will satisfy such
Retained Liabilities as they come due. Purchaser does not
                                                                  assume and otherwise will have no
obligation or liability whatsoever to any person or entity
                                                                 with respect to any of the Retained
Liabilities.

        1.03 Conse nt. In his capacity as the sole officer, director
                                                                         and shareholder of Seller,
Corson hereby consents to Seller 's sale, transfer, assignment,
                                                                conveyance and delivery of Seller 's
Clients, the information technology and the Other Assets to Purch
                                                                   aser.
        1.04 Book s and Recor ds. Subject to Seller 's compliance
                                                                         with all applicable privac y
laws, rules and regulations and the Clients' written consent,
                                                                Seller shall deliver to Purchaser on
the Acquisition Date: (i) Seller 's books and records pertai
                                                               ning to the Clients and ; including,
without limitation, Client files, correspondence, work papers,
                                                                research, books of account, ledgers,
financial and accounting records; and (ii) Seller 's electronically
                                                                       stored information and data
pertaining to the Clien ts.

                                              Artic le2
                                            Consi derati on
          2.01 In excha nge for Seller 's sale, transfer, assignment, conve
                                                                             yance and delivery of the
 Practice Assets to Purchaser and Corso n's consent thereto, Purch
                                                                        aser hereby agrees to purchase
 Seller 's Practice Assets for a price equal to 100% of the
                                                                  actual revenues ("Sell er's Client s'
Revenues") received by Purchaser on account of work perfor
                                                                    med for the Clients in the twelve
month period immediately following the Acquisition Date (the
                                                                       "Purc hase Price") . Based upon
all information currently available to them the Parties agree
                                                                   that the actual Purchase Price will
likely be $460,000 (the "Estimated Purchase Price"). The Purch
                                                                    ase Price shall be paid as follows:
(i) a payment will be made to Seller on January 1, 2015,
                                                                 in an amount equal to 25% of the
Estimated Purch ase Price; and, (ii) thereafter, a payment will
                                                                     be made to Seller on January 1,
2016, January 1, 2017, and January 1, 2018, each in an amou
                                                                        nt equal to 25% of the actual
Purchase Price, as determined on August 31, 2015. If the actual
                                                                     Purchase Price, as determined on
August 31, 2015, is greater than the Estimated Purchase Price,
                                                                  then on January 1, 2016, Purchaser
shall pay to Seller, in addition to 25% of the actual Purchase Price,
                                                                         an amount equal to 25% of the
difference betwe en the actual Purchase Price (as determined
                                                                       on Augus t 31, 2015) and the
Estimated Purchase Price. If the actual Purchase Price, as determ
                                                                      ined on Augus t 31, 2015, is less
than the Estimated Purchase Price, then the amount payable to
                                                                   Seller on January 1, 2016, shall be




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       reduced by an amount equal to 25% of the difference between the
                                                                       actual Purchase Price and the
       Estimated Purchase price.

               2.02 Seller will be solely responsible for ensuring proper governance
                                                                                       over its non Practice
       Assets, if any, and future disposition of any such remaining
                                                                            assets in the event of future
       liquidation or otherwise. Seller shall allow the Purchaser, at no cost
                                                                              or charge to the Purchaser, to
       use those items of Seller's equipment described on Exhibit "C"
                                                                            (the "Loaned Equipment") for
       Purchaser's operations.

               2.03 (a) On and after the Acquisition Date, Corson shall contin
                                                                               ue to render services to
       the Clients in the same manner conducted prior to the Acquisition
                                                                         Date.
               (b) For so long as Corson renders services to the Clients and
                                                                                    remains a partner of
        Purchaser, Corson shall be entitled to an annual base draw from
                                                                          the Purchaser commencing on
       the Acquisition Date through December 31, 2015, in an amount
                                                                         equal to 30% of the Estimated
       Purchase Price, as adjusted by the actual Purchase Price on Augu
                                                                          st 31, 2015. Commencing on
       January 1, 2016, through December 31, 2017, Corson's draw
                                                                             shall be based on actual
       collections per annum from the Clients. The Parties shall, in good
                                                                            faith, on January 1st of 2016
       and 2017 estimate the amount anticipated will be collected from
                                                                        the Clients in the year 2016 and
       then again in the year 2017 (the "Twelve Month Estimate"). Carso
                                                                           n's annual base draw shall be
       equal to 30% of the Twelve Month Estimate. Corson's annua
                                                                         l base draw shall be adjusted
       upward or downward at the expiration of each 12 month period
                                                                       to reflect actual collections from
       the Clients. Thereafter, commencing January 1, 2018, the Partie
                                                                       s agree to negotiate in good faith
,~.    ongoing annual draw, if any, for Corson.

               (c) Corson will begin work with the Purchaser effective as
                                                                                  of the Acquisition Date.
      Draws will be paid on the 1st day and 16th day of each month, or
                                                                            the last business day preceding
      those dates when they fall on a weekend or holiday recognized
                                                                          as a legal holiday by the State of
      California. Carson's Board of Accountancy licensing renew
                                                                           al fees, AICPA and California
      Society of CPA' s dues and all other professional association
                                                                           fees and dues and professional
      liability insurance coverage, shall be paid by the Purchaser.
                                                                           Purchaser shall provide Corson
      with, and agrees to pay for him to accrue, forty (40) hours of
                                                                          continuing education per year to
      maint ain his licens ing. Purch aser has standa rd benefi t
                                                                  progr ams it will provid e Corso n, which
      includes medical, dental, etc.

               2.04 fn addition to Corson's base draw for his services rendered
                                                                                     to Clients, Corson shall
       be paid a sum equal to 10% of the collected net revenues on any
                                                                              new clients Corson introduces
       to Purchaser, following the Acquisition Date. For all new clients
                                                                            introduced by Purchaser, which
       shall include, without limitation, future client list acquisitions
                                                                          made by Purchaser, Corson shall
      not receive I 0% or any percentage of the net revenues received
                                                                           by Purchaser arising for services
      rendered to such new clients. For purposes of this Section 2.04,
                                                                            net revenues means all revenue
      collected from new clients, and does not include all out-of-pock
                                                                           et costs attributable to such new
      clients and an administrative fee equal to four percent (4%) of
                                                                            the fee revenue collected from
      new clients. Corson will receive 40% of the collected to
                                                                          be determined hourly rate (for
      example, if Corson's hourly rate is $250 and he works 10 hours
                                                                             on a client and Anton collects
      the $5,000, Corson will receive $2,000) for work performed
                                                                           by Corson on any client whose
      revenue does not result in compensation to Corson under any other
                                                                               provision of this Agreement,


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 payment of which to Corson shall be subject to Purchaser's
                                                            actual collection of fees from any
 such clients.

          2.05 On August 31, 2014, all administration, billing, cash
                                                                        collection for work performed
 by both Corson and Purchaser shall be centralized and integr
                                                                  ated into Purchaser's administrative
 processes and oversight. Effective as of Acquisition Date,
                                                                invoicing and cash administration for
 work performed on or after that date is to be handled by
                                                             Purchaser. Effective as of Acquisition
 Date, and continuing so long as Corson remains a partn
                                                             er of Purchaser, Purchaser shall on the
 first business day of each month pay to Seller the sum of$
                                                                   2,023.04, which Corson represents
 equals one-half of the Seller's debt service payments
                                                             due under Seller's promissory note to
 Norman Laslow ("Laslow")(the "Laslow Note"). Purch
                                                             aser's obligation to Seller under this
 Section 2.05 is strictly an obligation owed by Purchaser
                                                                 to Seller, and all Parties agree that
·Laslow is not intended to be, nor may he be construed
                                                              to be a third party beneficiary to this
 Agreement. The Parties further and expressly agree that
                                                                  Purchaser is not assuming Seller's
 liability or debt obligations, nor shall Purchaser have any
                                                             liability whatsoever, under the Laslow
 Note. Purchaser's obligation to Seller under this Sectio
                                                             n 2.05 shall continue until the first to
 occur of any one of the of the following events: (i) Corso
                                                             n's removal or voluntary withdrawal or
 separation as a partner of the Purchaser; (ii) the Laslow
                                                             Note is paid in full; (iii) December 31,
 2017.

                                                Artic le 3
                                               Insur ance

        3. 0 l Purchaser and Seller shall exercise their best efforts with
                                                                           due diligence to purchase
a 5 year tail to Seller's existing Errors and Omissions Polic
                                                                   y effective as of the Acquisition
Date, or alternatively an endorsement to Purchaser's existi
                                                                 ng Errors and Omissions Policy to
be effective as of the Acquisition Date, in either case cover
                                                                ing losses incurred by or arising out
of the activities of all of Seller's accounting personnel relati
                                                                 ve to the Clients. The actual out of
pocket expense of effectuating the provisions of this
                                                              Article 3 shall be born equally by
Purchaser and Seller.

                                               Artic le4
                      Repr esent ation s and Warr antie s of Selle r and Cors
                                                                              on
        4.01 Seller and Corson,jointly and severally, warrant and repre
                                                                        sent   to Purchaser:
                (a)     Seller and Corson have full power and authority to execute
Agreement and to perform the obligations hereunder. This                               and deliver this
                                                               Agreement as executed and delivered,
will be duly authorized, executed and delivered by, and a valid
                                                                   and binding agreement of, Seller
and Corson, enforceable in accordance with its terms, and no
                                                                 further action, approvals or consents
are necessary on the part of Seller or Corson, nor is it neces
                                                               sary for Seller or Corson to obtain any
actions, approvals or consents from any third persons, gover
                                                                nmental agency or other person to
make this Agreement valid and binding upon and enforceabl
                                                                e against them in accordance with its
terms, or to enable Seller or Corson to perform this Agreement
                                                                   and the transactions contemplated
thereby, except for any required consents from the Clients.




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                 (b)     The Client list attached hereto as Exhibit "A" is a full and compl
                                                                                            ete list of
 the currently active Clients of Seller.

                  (c)     Seller has, and will convey to Purchaser, good and marketable
                                                                                             title to the
 Practice Assets free and clear of all liens, pledges, leases, charge
                                                                      s, encumbrances, equities, claims,
 contracts, security interests, or any other interests of any nature
                                                                     whatsoever.
                 (d)     To their knowledge, neither Seller nor Corson has been and are
 violation of any federal, state or local laws, regulations or                            not now in
                                                                 orders relative to their accounting
 practice or the Practice Assets.

                (e)     There are no claims, actions, suits, proceedings or investigations,
                                                                                               judicial or
 administrative, pending, involving or threatened against or affect
                                                                         ing either Seller, Corson,or the
 Practice Assets, or that seek to restrain, prohibit or invalidate the
                                                                       transactions contemplated by this
 Agreement or that materially affect the right of Purchaser to
                                                                     own the Practice Assets. Neither
 Seller nor Corson knows of any basis for any such action, suit,
                                                                    proceeding or investigation.
               (f)    Corson and Seller have conducted their own review,
                                                                                       investigation,
inspection and analysis (collectively, "Inspection") of the Purch
                                                                  aser, has reviewed all Purchaser
documents they have requested, have had an opportunity to ask
                                                                 questions of and receive answers
from representatives of the Purchaser regarding the business and
                                                                   financial status of the Purchaser
and hereby approve their Inspection.

                4.02 Purchaser warrants and represents to Seller and Corson:

               (a)     Purchaser has full power and authority to execute and
Agreement and to perform the obligations hereunder. This Agree                         deliver this
                                                                   ment as executed and delivered,
will be duly authorized, executed and delivered by, and a
                                                                 valid and binding agreement of
Purchaser, enforceable in accordance with its terms, and no furthe
                                                                    r action, approvals or consents
are necessary on the part Purchaser, nor is it necessary for
                                                                 Purchaser to obtain any actions,
approvals or consents from any third persons, governmental agenc
                                                                    y or other person to make this
Agreement valid and binding upon and enforceable against them
                                                                 in accordance with its terms, or to
enable Purchaser to perform this Agreement and the transactions
                                                                  contemplated thereby, except for
any required consents from the Clients to be acquired hereunder.

                 (b)      To its knowledge, Purchaser has not been and is not now in violati
federal, state or local laws, regulations or orders relative to its Certif                        on of any
                                                                           ied Public Accounting Practice.
                (c)     There are no claims, actions, suits, proceedings or investigation
administrative, pending, involving or threatened against or affecti                      s, judicial or
                                                                    ng Purchaser except as follows: (i)
the claim and demand of James River Holdings Corporation ("JRH
                                                                       C") for alleged unfair business
practices; alleged breach of the AICP A's Code of Professional
                                                                 Conduct; alleged breach of PCAOB
auditing standards; alleged breach of California Code of
                                                                   Professional Regulations; alleged
professional malpractice; alleged gross negligence; and alleged
                                                                  fraud. JRHC 's claims for damages
are in excess of $75,000 and the matter is now in arbitra
                                                                  tion under California jurisdiction.
Purchaser represents and warrants that to its knowledge there
                                                                       are no claims, actions, suits,
proceedings or investigations, judicial or administrative, pendin
                                                                   g, involving or threatened against



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 or affecting Purchaser that seek to restrain, prohibit or invalidate
                                                                      the transactions contemplated by
 this Agreement or that might materially a:ffect the right of Seller
                                                                     and/or Corson hereunder.
                 (d)     Purchaser conducted its own review, investigation, inspection
                                                                                          and analysis
 (collectively, "Inspection") of Seller, has reviewed all docum
                                                                   ents it has requested, has had an
 opportunity to ask questions of and receive answers from repres
                                                                     entatives of Seller regarding the
 business and financial status of the Seller and hereby approves
                                                                 its Inspection.

                                                Articl e 5
                                             [RESERVED}

                                             Articl e 6
            Cond itions to Purch aser's and Seller 's and Corso n's Oblig
                                                                          ations fo Close
         6.01 Seller and Corson covenant and agree that, and excep
                                                                      t as otherwise disclosed by a
 written notice and approved by the Party that may be adversely
                                                                  affected by the facts disclosed in
 that notice, neither Seller or Corson shall have any obliga
                                                               tion to consummate and close the
 purchase of the Practice Assets as contemplated by this Agree
                                                                ment, unless from and after the the
 "Effective Date of this Agreement" and through the Acquisition
                                                                Date:
              (a)     All of the representations, warranties and covenants of Seller
                                                                                     and Corson
contained herein shall be true and correct, and shall not have
                                                                been breached, on and as of the
Acquisition Date. All of the representations, warranties
                                                               and covenants contained in this
Agreement shall continue to be true and correct.

                (b)     Seller and Corson have continued to carry on their Certif
Accounting practice in the ordinary course diligently and substa                           ied Public
                                                                      ntially in the same manner as
heretofore conducted. Purchaser, Seller and Corson have not taken
                                                                      any action that would cause any
of the representations and warranties made by Seller and Corso
                                                                 n in this Agreement to be untrue or
incorrect in any material respect on and as of the Acquisition Date,
                                                                     with the same force and effect as
if made on and as of the Acquisition Date. Seller and Corson have
                                                                       used commercially reasonable
efforts to preserve Seller's Clients and relationships with Client
                                                                     s prior to, and on and after the
Acquisition Date.

                 (c)      Seller has not sold or otherwise transferred, or granted any securi
interest in, the Client list, information technology or the Other                             ty or other
                                                                   Assets to any other person or entity.
                6.02 Purchaser covenants and agrees that, except as otherw
                                                                                 ise disclosed by a
written notice and approved by the Party that may be adversely
                                                                  affected by the facts disclosed in
that notice, neither Seller nor Corson shall have any obligation
                                                                 to consummate and close the sale
of the Practice Assets as contemplated by this Agreement,
                                                              unless from and after the complete
execution and delivery of this Agreement (the "Effective Date
                                                                 of this Agreement ") and through
the Acquisition Date:

                (a)    All of the representations, warranties and covenants of Purchaser
herein shall be true and correct, and shall not have been breach                         contained
                                                                  ed, on and as of the Acquisition
Date. All of the representations, warranties and covenants
                                                                contained in this Agreement shall
continue to be true and correct.


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                  (b)     Purchaser has continued to carry on its Certified Public
                                                                                    Accounting practice
 in the ordinary course diligently and substantially in
                                                          the same manner as heretofore conducted.
 Purchaser has not taken any action that would cause any
                                                            of the representations and warranties made
 by Purchaser in this Agreement to be untrue or incorrect in any
                                                                      material respect on and as of the
 Acquisition Date, with the same force and effect as if
                                                           they had first been made on and as of the
 Acquisition Date. Purchaser has used commercially reaso
                                                               nable efforts to preserve the enterprise
 value of its Certified Public Accmmting practice as it was
                                                            the Effective Date of this Agreement.

                  (c)     Purchaser has not transferred any asset, granted any
                                                                                  security or other
 interest in its property, or made or become obligated to
                                                           make any distribution to its partners that
 would be outside of the ordinary course of its business
                                                         as conducted prior to the Effective Date of
 this Agreement.

                                                   Artic le 7
          Repre senta tions , Warr antie s and Cove nants True as
                                                                  of and After the Acqu        isitio n Date
        7.01 All of the rights and remedies of the Parties
                                                                   arising out of or related to the
 representations, warranties and covenants contained herein
                                                            shall survive the Acqu isitio n Date.

                                                 Artic le 8
                                             Indemnification
         8.01    Seller and Corson, jointl y and severally, hereby agree
                                                                                  to indem nify, defen d and
 hold harmless Purch aser and its representatives, partn
                                                            ers, controlling perso ns and affiliates (the
 "Purc haser Indem nified Parties") for, and will pay to the
                                                               Purch aser Indem nified Parties the amou nt
of, any unins ured loss, liability, claim, dama ge (including
                                                                  incidental and consequential damages),
expense (inclu ding costs of investigation and defense and
                                                                reasonable attorn eys' fees) or diminution
of value, wheth er or not involving a third-party claim
                                                            (collectively, "Dam ages" ), arising, directly
or indirectly, but proxi matel y cause d by or in connection
                                                                 with (i) any breac h of any representation
or warranty made by Seller or Corso n in this Agree ment
                                                               (ii) any breac h by Seller or Corso n of any
coven ant or obligation of Seller or Corso n in this Agree
                                                                ment; (iii) any claim by any perso n for
brokerage or finde r's fees or commissions or simila
                                                           r paym ents based upon any agree ment or
understanding alleged to have been made by such perso
                                                                 n with Seller or Corso n (or any perso n
acting on their behalf) in conne ction with any of the transa
                                                                 ctions conte mplat ed by this Agreement;
(iv) the failure of Seller to assume, pay, perfonn and discharge
                                                                          Selle r's Retained Liabilities; (v)
any actual or allege d malpractice by Seller or Corso n to
                                                             the exten t attributable to services provi ded
by Seller or Corso n prior to the Acquisition date; (vi)
                                                                any claims, suits, demands, decrees or
regulatory actions taken against Seller or Corso n prior to
                                                              the Acquisition Date; or (vii) the Retai ned
Liabilities. The Parties agree that Purch aser shall have
                                                           the right to offset and reduc e any paym ents
payable to Seller or Corso n pursu ant to this Agree ment
                                                                by any and all amou nts of any Dama ges
owed by Seller and Corson, and payable by Seller and Corso
                                                                   n, to Purch aser under this Article 8.
         For purpo ses oftlri s Section 8.01 Dama ges do not arise
                                                                      until the earlier of the date (a) upon
which the Parties agree that the particular item of claim
                                                              ed Dama ge is uninsured, (b) the date upon
which the Party entitl ed to tende r a claim for a partic ular
                                                                item of claimed Dama ge to an insurance
carrier first declin es or elects not to tende r that claim,
                                                             (c) the insurance carrier to whom the claim
related to a partic ular item of claimed Dama ge has been
                                                              tende red has made a final determination to



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 deny coverage or (d) the date upon which the actual
                                                         or probable liability for a particular item of
 claimed Damage is determined to be in excess of
                                                       the amount of coverage available under the
 applicable policy of insurance. In all cases, neither
                                                       Seller nor Corson have any obligation under
 this Section 8.01 unless and until Damage has arisen
                                                        within the meaning of this Section 8.01. The
 amount of Seller and Cars on's obligation to provide
                                                        indemnity for the Damages arising from any
 harm defined as Damage in this Agreement is limited
                                                       to the uninsured amount of such Damage.
           8.02 Purchaser hereby agrees to indemnify, defend
                                                                    and hold harmless Seller, Corson and
  their representatives, partners, controlling persons and
                                                             affiliates (the "Seller Indemnified Parties")
 for, and will pay to the Seller Indemnified Parties
                                                         the amount of, any uninsured loss, liability,
 claim, damage (including incidental and consequen
                                                           tial damages), expense (including costs of
 investigation and defense and reasonable attorneys'
                                                          fees) or diminution of value, whether or not
 involving a third-party claim (collectively, "Dam
                                                          ages"), arising, directly or indirectly, but
 proximately caused by or in connection with (i) any
                                                              breach of any representation or warranty
 made by Purchaser in this Agreement (ii) any breach
                                                         by Purchaser of any covenant or obligation of
 Purchaser in this Agreement; (iii) any claims, suits,
                                                         demands, decrees or regulatory actions taken
 against Purchaser arising out of the any services rende
                                                              red by Purchaser prior to the Acquisition
 date; (iv) any claim by any person for brokerage
                                                          or finder's fees or commissions or similar
 payments based upon any agreement or understanding
                                                             alleged to have been made by such person
 Purchaser (or any person acting on their behalf)
                                                         in connection with any of the transactions
 contemplated by this Agreement; (iv) the failure of
                                                        Purchaser to assume, pay, perform and of its
 obligations under this Agreement or (v)any actual
                                                           or alleged malpractice by Purchaser to the
 extellt attributable to services provided by Purchaser on
                                                             or prior to the Acquisition Date.
         For purposes of this Section 8.02 Damages do not arise
                                                                     until the earlier of the date (a) upon
which the Parties agree that the particular item of claim
                                                             ed Damage is uninsured, (b) the date upon
which the Party entitled to tender a claim for a partic
                                                         ular item of claimed Damage to an insurance
carrier first declines or elects not to tender that claim
                                                          , (c) the insurance carrier to whom the claim
related to a particular item of claimed Damage has been
                                                             tendered has made a final determination to
deny coverage or (d) the date upon which the actual
                                                           or probable liability for a particular item of
claimed Damage is determined to be in excess of
                                                         the amount of coverage available under the
applicable policy of insurance. In all cases, the Purch
                                                          aser shall not have any obligation under this
Section 8.02 unless and until Damage has arisen withi
                                                              n the meaning of this Section 8.02. The
amount of Purchaser's obligation to provide indemnity
                                                               for the Damages arising from any harm
defined as Damage in this Agreement is limited to the
                                                          uninsured amount of such Damage.

                                              Artic le 9
                                            Miscellaneous
       9.01 Assignment No right or obligation of a Party
                                                                to this Agreement may be assigned
or encumbered without the prior written consent of all
                                                       Parties.
        9.02 Coun terpa rts. This Agreement may be execu
                                                                 ted in several counterparts, each of
which shall be an original, but all of which shall const
                                                          itute one and the same instrument. In the
event that any signature is delivered by facsimile trans
                                                          mission or by e-mail delivery of a ".pd f'
format data file, such signature shall create a valid and
                                                           binding obligation of the Party executing




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 (or on whose behalf such signature is executed) with
                                                             the same force and effect as if such
 facsimile or ".pdf ' signature page were an original thereof.

          9.03 Confidentiality. The Parties agree that the matters
                                                                        set forth in this Agreement are
 strictly confidential. In addition, the Parties agree to keep
                                                               strictly confidential all information of
 a proprietary or confidential nature about or belonging
                                                            to a disclosing Party to which any other
 Party gains or has access by virtue of this Agreement. Exce
                                                                  pt as disclosure may be required to
 obtain the advice of professionals or consultants or as may
                                                                be required by law or by the order of
 any government, regulatory authority or tribunal, each Party
                                                                 will make every effort to ensure that
 such confidential information is not disclosed to any other
                                                               third person without the prior consent
 of the disclosing Party.

        9.04 Furth er Assurances. The Parties will do and cause
                                                                        to be done all such acts,
matters and things and shall execute and deliver all such
                                                           documents and instruments as shall be
required to enable the Parties to perform their respective
                                                           obligations under, and to give effect to
the transactions contemplated by, this Agreement.

       9.05 Entir e Agre emen t This Agreement constitutes
                                                                 the entire agreement among the
Parties relating to the subject matter hereof and
                                                          supersedes all prior contracts and
understandings, written or oral. This Agreement may not
                                                              be amended or modified unless so
amended or modified in writing and signed by all the Partie
                                                           s.
        9 .06 Inter preta tion. Unless the context otherwise
                                                                      requires, the word "here of,
"herein" and other words of similar impact shall refer to
                                                              this Agreement as a whole and not to
any particular Article, Section or other subdivision of this
                                                              Agreement; the plural and the singular
shaH include the other; the masculine shall include the femin
                                                                ine and neuter; the word "including"
shall be without limitation regardless of whether followed
                                                              by such words of similar import; and a
reference to an agreement or instrument shall be to the agree
                                                                  ment or instrument as amended or
modified through the date as of which the reference is
                                                              made. The Recitals set forth at the
beginning of this Agreement are incorporated in and made
                                                                a part of this Agreement. All parties
have negotiated at arm's length and participated equal
                                                            ly in the drafting of this Agreement.
Accordingly, all portions of this Agreement shall be fairly
                                                               and nuetrally construed to effectuate
the intent ions of the Partie s and the purpo ses of
                                                        this Agree ment; and no portio n of this
Agreement shall be construed against any Party because
                                                             that Party or their attorney drafted the
provision.

         9.07 Notices. AH notices and other communications requi
                                                                         red or permitted to be given
under this Agreement shall be in writing and shall be deem
                                                               ed to have been duly given and to be
effective on the date on which such communications are
                                                                 delivered by personal delivery, by
facsimile transmission (with telephonic confirmation of receip
                                                                   t), DHL, Federal Express or other
similar courier service or by the United States Postal Servi
                                                             ce after being deposited with the United
States Postal Service as Express Mail or as registered or
                                                             certified matter, postage prepaid, return
receipt requested, addressed to the parties at the addresses
                                                             specified below, or at such other address
as the party to whom the notice is sent has designated in accor
                                                                  dance with this Section 9.07.
        Purc haser :     3501 Jamboree Road, Suite 540, Newport Beach, CA 92660




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         Seller:            1547 Lorra ine Drive , Encin itas, CA 92024

         Co.rson:          1547 Lorra ine Drive , Encin itas, CA 92024

         9.08   Gove rning Law. This Agree ment is execu ted and deliv
                                                                           ered in Calif ornia and
 will be gover ned by the laws of the State of Calif ornia
                                                           witho ut refere nce to conflict of law
 provisions.

 9.09 Arbit ratio n. Any contr overs y or claim arisin g
                                                              out of or relating to this Agree ment, or
 any alleged breac h hereof, that is not resolv ed by the Partie
                                                                  s will be resolv ed exclusively by
 arbitration excep t to the exten t that one Party may seek
                                                              equitable relief again st anoth er Party.
 The Parties agree that any such contr overs y shall be settle
                                                                 d by bindi ng arbitration. The dispu te
 shall be subm itted to one arbitrator as agree d to by the
                                                             parties. The arbitr ator shall be either a
 forme r judge (with prefe rence given to a retired Federal
                                                               Judge) or an attorn ey with at least 20
years exper ience , unless other wise agreed to by the partie
                                                                s. The arbitration shall occur in Orang e
 County. The JAMS comp rehen sive Arbitration Rules
                                                            and Proce dures will apply. In particular,
pursu ant to the JAMS Rules, the partie s acknowledge that
                                                                 summ ary judgm ent, summ ary
adjudication or summ ary disposition of claims or issues
                                                               are available. Judgm ent upon the
arbitration award rende red by the arbitrator may be enter
                                                               ed in any court of comp etent
jurisdiction. The subst antive law of the State of Califo
                                                            rnia, witho ut giving effect to its confl ict of
laws principles, shall be applied, and the arbitrator shall
                                                               not have the powe r to comm it errors of
law or legal reasoning. The arbitr ator's decis ion shall
                                                            be revie wable in the Calif ornia Cour t of
Appeal for the Secon d District, to the same exten t as if
                                                             it were decid ed by a Judge of the Oran ge
Coun ty Super ior Court. The parties agree to split the cost
                                                                 of arbitration equal ly, inclu ding the
cost of a court repor ter to recor d the arbitration proce eding
                                                                 s if any Party reque sts a reporter;
provi ded howe ver that the preva iling party in the Arbit
                                                            ration shall be entitled to recov er its
attorn eys' fees and costs.

        Notw ithsta nding the foregoing, the Parties shall obtai n
                                                                     the written agree ment of arbitr ator
to the following: (i) the arbitrator shall provi de a writte
                                                              n ruling, stating in separate sections the
findings of fact and concl usion s of law on which his
                                                            or her ruling is based; and (ii) the ruling
shall be due no later than thirty (30) days after the final
                                                             heari ng and withi n three (3) mont hs after
comm encem ent of the arbitration. Excep t to the exten
                                                             t neces sary to seek or defen d again st an
action seeki ng to obtai n a judgm ent confi rming the
                                                            Arbitration award, all matters relating to
such arbitr ation and the results there of shall be confi
                                                            dential. Judgm ent on the award of the
arbitrators may be enter ed in any court of prope r jurisd
                                                           iction .
         9.10 Survi vorsh ip. The rights and remedies of the
                                                                 Parties arising from or related to a
breach or claimed breach of any of the representations,
                                                           covenants and obligations of the Parties as
set forth in this Agree ment shall survive the Acquisition
                                                           Date.
       9 .11   Bind ing Effec t. All of the terms, covenants and condi
                                                                       tions herein contained shall
be for and shall inure to the benefit of and shall bind
                                                          the respective Parties hereto and their
successors and assigns, respectively.

         9.12 Sever abilit y. If any provision of this Agree ment
                                                                    is, becomes or is deemed invalid,
illegal or unenforceable in any jurisdiction, such provision
                                                             shall be deem ed amen ded to conform to



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the applicable laws so as to be valid and enforceable, or, if
                                                                     it cannot be so amended without
materially altering the intention of the Parties hereto, it shall be
                                                                      stricken and the remainder of this
Agreement shall remain in full force and effect.

        9 .13 Parag raph Headi ngs. The headings of the several paragr
                                                                             aphs of this Agreement
are inserted solely for convenience of reference and are not part
                                                                   of and are not intended to govern,
limit or aid in the construction of any term or provisions herein.

        9.14 Waiv er. No waiver by a party of any breach of or defaul
                                                                              t under this Agreement
shall be deemed to be a waiver of any other breach or default of
                                                                   any kind or nature, whether or not
such party knows of such breach or default at the time it
                                                                   or he accepts such payment or
performance. No failure or delay on the part of a Party to exerci
                                                                  se any right it or he may have with
respect to this Agreement shall prevent the exercise thereo f by
                                                                  such Party at any time such other
Party may continue to be so in default, and no such failure or delay
                                                                      shall operate as a waiver of any
default. A failure by either Party to insist upon strict compl
                                                                iance with any of the terms of this
Agreement in any instance shall not be construed as a waiver of
                                                                 such terms in the future.
        9.15 Const ructio n. The Parties agree that this Agreement
                                                                    is the product of negotiation
among the Parties, all of whom are represented by couns
                                                              el, and each of whom had an
opportunity to participate in and did participate in, the draftin
                                                                  g of each provision of this
Agreement. Accordingly, ambiguities in this Agreement, if any,
                                                                 shall not be construed in favor
of or against any Party.

        IN WITN ESS WHE REOF , the Parties have executed this Agree
                                                                    ment as of the date
first above writte n.

       SELL ER:                                        PURC HASE R:

                                                       Anton & Chia, LLP, a California
                                                       limited liabilit:;;i)artnership
                                                                                !:        1
                                                                               ·; ':'
                                                                ~"'~,--"-···-.,.:~   ..


                                                      By:                  "
                                                            Grego ry Wahl, Its _ _ _ __



         Michael Corson, individually




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 EXHIB IT A

 Exhibit A to the Asset Purchase Agreeme nt between Anton & Chia llP and W. Michael
                                                                                         Corson &
 Co. APC dated August 31, 2014 consists of the sixteen page "Client Address Listing" attached
                                                                                              .
 Subject to possible additions only.




a&c_poa-exhibit.docx

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                                                          Client Address Listing
                                                                 Partner• Client Code

 Client Number             Client Name                                        Address                                  Fax Number
 ~
       lner: Corson, W. Michael (0001)

ABLC.00                    Arytha Biosciences LLC                             11575 Sorrento Valley Road
                                                                              Suite 217
                                                                              San Diego, CA 92121
                                                                              USA
ACHl.00                    Alexander Construction & Home Inspection           2955 Curlew Street
                                                                              San Diego, CA 92103
                                                                              USA
ADAT.00                    Ted Adams                                          7201 Fay Avenue
                                                                              La Jolla, CA 92037
                                                                              USA
ADWM.00                    ADW Management. LLC                                3525 Del Mar Heights Road
                                                                              Apartment No. 751
                                                                              San Diego, CA 92130
                                                                              USA
AEDM.00                    A. E. D. Managemen t LLC                           820 West 3rd Street
                                                                              Apartment No. 4108
                                                                              Austin, TX 78701
                                                                              USA
AEDT.00                    Amy E. Dieckmann 2011 Trust                        Amy E. Dieckmann, Trustee
                                                                              3223 Lemmon Avenue
                                                                              Apartment No. 5115
                                                                              Dallas, TX 75204
                                                                              USA
AJME.00                    AJ Makai Enterprises, Inc.                         dba Coastal Caulking Waterproofing
                                                                              7040 Avenida Encinas
                                                                              Suite 104-11
                                                                              Carlsbad. CA 92011
                                                                              USA
ALET.00                    Todd Alexander and Meredith A. Cook                1220 Third Avenue
~                                                                             San Diego, CA 92101
                                                                              USA
     ,rl.00                Hussien   A. and Maria L. AI-Shamma                134 Townwood Way
                                                                              Encinitas, CA 92024
                                                                              USA
ALTB.O                     Barbara and Philip Altfest                         13946 Mira Montana
                                                                              Del Mar, CA 92014
                                                                              USA
ALTE.00                    Eric Alttest                                       25 Canyon Crest Drive
                                                                              Corona del mar, CA 92625-1142
                                                                              USA
ALTM.00                    Michael and Tamar Altfest                          1500 Visalia Avenue
                                                                              Albany, CA 94707
ALTP.00
                                                                              USA
                           Estate of Philip Altfest                           13946 Mira Montana
                                                                              Del Mar, CA 92014
                                                                              USA
AMBD.00                    DylanAmbro                                         2265 Manchester Avenue
                                                                              Cardiff by the Sea, CA 92007
                                                                              USA
AMBT.00                    Tawny J. Ambro                                     2265 Manchester Avenue
                                                                              Cardiff by the Sea, CA 92007
                                                                              USA
AMIF.00                    Amiford, LLC                                       363 Prospect Street
                                                                              La Jolla, CA 92037
                                                                              USA
ARTU.00                    The Art of the Unconscious, LLC                    15843 Caminito Cantaras
                                                                              Del Mar, CA 92014
                                                                              USA
ATPl.00                    Ate Thirty Productions, Inc.
                                                                              Austin, TX
                                                                              USA
AXSl.00                    Axiom Shelter Island LLC                           Post Office Box 81676
~                                                                             San Diego, CA 92138
t-•. ..,R.00
                                                                              USA
                           Rosa M. Bass
                                                                              444 North El Camino Real
                                                                              Apartment No. 131
                                                                              Encinitas, CA 92024
                                                                              USA


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                                                        Client Address Listing
                                                                 Partner • Client Code

 Client Number             Client Name                                         Address
 /~
                                                                                                                  Fax Number
     3.00                  Bass Family "B" Trust                               444 North El Camino Real
                                                                               Encinitas, CA 92024
                                                                               USA
 BEBE.00                   Big Easy Bebe, LLC                                  500 West 6th Street
                                                                               Suite401
                                                                               Austin, TX 78701
                                                                               USA
BEHL.00                    Lynn A. and Joanne M. Behymer                       3085 Blenkarne Drive               760-434-0556
                                                                               Carlsbad, CA 92008-1117
                                                                               USA
BFBT.00                    Bradley Family "8" Trust                            50-855 Washington Street
                                                                               La Quinta, CA 92253-2891
                                                                               USA
BIDS.00                    Sandra B. Biddulph                                  1830 Avenida Mimosa
                                                                               Encinitas, CA 92024
                                                                               USA
BIEJ.00                    James W. Ill and Marie E. Biers                     305 Oakbranch Drive                760-942-4861
                                                                               Encinitas, CA 92024
                                                                               USA
BIFT.00                    Biers Family Trust                                  305 Oakbranch Drive
                                                                               Encinitas, CA 92024
                                                                               USA
 .;UV.00                   Verna Bliss                                         1157 San Pablo Drive
                                                                               San Marcos, CA 92078
                                                                               USA
BOHR.CO                    Roger   E. and Elizabeth C. Bohn                    3631 Syracuse Avenue
                                                                               San Diego, CA 92122
                                                                               USA
BOLJ.00                    John P. and Diane B. Boland                         583 Lakewood Way
                                                                               Upland, CA 91786
                                                                               USA
BRAJ.00                    Justin J. Braune                                    1420 Vine Street
-~                                                                             San Diego, CA 92103
                                                                               USA
EirvW.00                   Bray Valley Ranch. LLC                              4281 Weise Road
                                                                               Carson City, NV 89703-9405
                                                                               USA
BRDM.00                    David M. Bradley                                    Post Office Box 3725
                                                                               Manhattan Beach, CA 90266
                                                                               USA
BREl.00                    Braune Enterprises, Inc.                            1420 Vine Street
                                                                               San Diego, CA 92103
                                                                               USA
9ROA.00                    Adam J. Brody                                       10217 Avenida Magnifica
                                                                               San Diego, CA 92131
BROD.00                                                                        USA
                           Deborah A. Brown                                    1005 Alta Vista Drive
                                                                              Vista, CA 92084-5521
                                                                              USA
BROM.0                    Mlriam Brown                                        7865 Via Montebello
                                                                              Apartment 3
                                                                              San Diego, CA 92129
                                                                              USA
BROR.O                    Raymond Brown and Hui Zhu                           Post Office Box 8908
                                                                              Rancho Santa Fe, CA 92067
                                                                              USA
BROS.00                   Sean Brody                                          10217 Avenida Magnifica
                                                                              San Diego, CA 92131
                                                                              USA
BRUT.00                   Bruce Minteer Trust                                 Post Office Box 675568
                                                                              Rancho Santa Fe, CA 92067
                                                                              USA
BULS.00                   Sandra A. Bullock                                   c/o John Chamblee
                                                                              500 West 6th Street
                                                                              Suite 401 - Second Floor
                                                                              Austin, TX 78701
CAFT.00                                                                       USA
                          Casey Family Exemption Trust of i981                c/o Patricia F. Casey Trustee
                                                                              Post Office Box 675575
                                                                              Rancho Santa Fe, CA 92067
                                                                              USA

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                                                      Client Address listing
                                                              Partner. Client Code

Client Number             Client Name                                      Address                             Fax Number
 ~
     '().00               Philip and Jane Carroll                          1297 Shorebird Lane
                                                                           Carlsbad, CA 92011
                                                                           USA
CASK.00                   Karen Casey                                      2805 La Gran Via
                                                                           Carlsbad, CA 92009
                                                                           USA
CASR.00                   Patricia   F.   Casey                            Post Office Box 675575
                                                                           Rancho Santa Fe, CA 92067
                                                                           USA
CFTR.00                   Christine A. Flanagan 2011 Trust                 Amy E. Dieckmann, Trustee
                                                                           3223 Lemmon Avenue
                                                                           Apartment No. 5115
                                                                           Dallas, TX 75204
                                                                           USA
CGNZ.00                   Corson Gonzales & Zaslow LLP                     380 Stevens Avenue
                                                                           Suite 210
                                                                           Solana Beach, CA 92075
                                                                           USA
COBR.00                   Costa Brava Corporation                          2653 Ocean Street
                                                                           Carlsbad, CA 92008
':OLC.00
                                                                           USA
                          Carol L. Collins                                 11834 Valencia Gardens Avenue
                                                                           Palm Beach Garden, FL 3341 O
                                                                           USA
CORB.00                   Steven 0, and Brenna C. Weatherby                7306 Sitio Lirio
                                                                           Carlsbad, CA 92009
                                                                           USA
CORC.00                   Corson Consulting, Inc.                          1715 Freda Lane
                                                                           Cardiff by the Sea, CA 92007
CORW.00
                                                                           USA
                          W. Michael and Barbara J. Corson                 1547 Lorraine Drive
                                                                           Encinitas, CA 92024
I~                                                                         USA
     -.00                 California Pier View LLC                         1814 South Pacific Street
                                                                           Oceanside, CA 92054
                                                                           USA
CRAV.00                   Elaine Lugo                                      3887 Pelf Place
                                                                           Apartment No. 134
                                                                           San Diego, CA 92130
                                                                           USA
CSll.00                   CSquared International, Inc.                     11834 Valencia Gardens Avenue
                                                                           Palm Beach Garden, FL 33410
                                                                           USA
SSQ!.00                   CSquared International, Inc,                     701 North Atlantic Avenue
                                                                           Apartment No, 402
                                                                           New Smyrna Beach, FL 32169
                                                                           USA
CTIL.00                   CTI Investments LLC                              910 Greg Street
                                                                           Sparks, NV 89431
DARL.00
                                                                           USA
                          DD Axiom Resources LLC                           2323 San Juan Road
                                                                           San Diego, CA 92103
                                                                           USA
DE96.00                   Deviceninesix, Inc.                              7306 Sitio Lirio
                                                                           Carlsbad, CA 92009
DELR.00
                                                                           USA
                          Jenny Delgado                                    505 Hill Drive
                                                                           Glendale, CA 91206-2840
                                                                           USA
DELT.00                  Jenny Delgado Trust                               c/o Barbara J. Corson Trustee
                                                                           1547 Lorraine Drive
                                                                           Encinitas, CA 92024
DEPD.00
                                                                           USA
                         DEP Developers, LP                               3525 Del Mar Heights Road
                                                                          Apartment No. 751
                                                                          San Diego, CA 92130
                                                                          USA
DERC.00                  DCI Technology Corporation                       2930 Norman Strasse Road            760-727-2643
                                                                          Suite 104
                                                                          San Marcos, CA 92069
                                                                          USA

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                                                          Clien t Addre ss Listin g
                                                                  Partner - Client Code

Client Number              Client Name                                          Address                             Fax Number
~'.00                      Tia Diamonto poulos                                  3614 Bernwood Place
                                                                                Apartmen t No. 34
                                                                                San Diego, CA 92130
                                                                                USA
DIEA.00                    Amy E. Dieckman n                                    5745 Bozeman Drive                  (215} 732-2551
                                                                                Apartmen t No. 8333
                                                                                Plano, TX 75204
                                                                                USA
DIET.00                    Trevor J. Dieckmann                                  1749 North Wells                    630-368-3977
                                                                                Apartmen t No. 1905
                                                                                Chicago, ll 60614
                                                                                USA
DIEW.00                    Wallace C. and Linda B. Dieckmann                    363 Prospect Street
                                                                                la Jolla, CA 92037
                                                                                USA
DINT.CO                    Thomas D. and Laurie J. Di Noto                      365 Pacific Avenue
                                                                                Solana Beach, CA 92075
                                                                                USA
DITR.00                    The Dieckman n Trust                                 Wallace C. Dieckmann, Trustee
                                                                                786 Amiford Drive
                                                                                San Diego, CA 92107-4253
                                                                                USA
,   ~M.00                  Daniel J. Bressler, MD, Inc.                         501 Washingt on Street
                                                                                Suite 705
                                                                                San Diego, CA 92103
DLAW.00
                                                                                USA
                           Law Offices of J. Kirk Donnelly, APC                 7668 El Camino Real
                                                                                Suite 104-760
                                                                                Carlsbad, CA 92009
DLXC.00
                                                                                USA
                           S4 Software, Inc.                                   Post Office Box 178607
                                                                               San Diego, CA 92177
~                                                                              USA
     B.00                  Julianne Bray                                       464-17 Manitou Drive
                                                                               Indian Wells, CA 92210
DONJ.00
                                                                                USA
                           John K. and Adriana B. Donnelly                     3343 Gasca Way                      760-634-5701
                                                                               Carlsbad, CA 92009
                                                                               USA
DPLC.00                    Dixie Pacific Land & Cattle Company, Inc.           2323 San Juan Road
                                                                               San Diego, CA 92103
DROB.00                                                                        USA
                           Brent W. Drown                                      600 Front Street
                                                                               Apartmen t No. 234
                                                                               San Diego, CA 92101
DUNJ.00                                                                        USA
                          Joseph R. and Kari Dunn                              13046 Portofino Drive
                                                                               Del Mar, CA 92014
DUNP.00                                                                        USA
                          Paul J. and Sarah A. Dunford                         425 South Rios Avenue
                                                                               Solana Beach, CA 92075
EDGJ.00                                                                        USA
                          John C. and Pamela H. Edgerton                       11959 caminito Corriente
                                                                               San Diego, CA 92128
EFLP.00                                                                        USA
                          EF Composit e Technologies, LP                       2080 Las Palmas Drive
                                                                               Suite 102
                                                                               Carlsbad, CA 92011
EFOR.00                                                                        USA
                          EFGP, Inc.                                           2080 las Palmas Drive
                                                                                                                   858-547-5905
                                                                               Suite 102
                                                                               Carlsbad, CA 92011
EGGD.00                                                                        USA
                          Egg Distribution LLC                                 4719 Santa Cruz Avenue
                                                                               San Diego, CA 92107
    ,.00                                                                       USA
                          Elbaroda Properties No. 1. LLC                      500 West 6th Street
                                                                                                                   512-322-9345
                                                                              Suite 401
                                                                              Austin, TX 78701
                                                                               USA


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                                                            Clien t Addre ss listin g
                                                                      Partner - Client Code

 Client Number             Client Name                                              Address
 .-,,,                                                                                                                                 Fax Number
         .00               Elbaroda Properties No.       2, LLC                     500 West 6th Street                                512-322-9345
                                                                                    Suite 401
                                                                                    Austin, TX 78701
                                                                                    USA
 ERID.00                   David A and Jeanne D. Erickson                           4952 Sterling Grove Lane
                                                                                    San Diego, CA 92130
                                                                                    USA
 ERIJ.00                   James E. Erickson                                        Flat 22E Tsui Lan Mansion, 5 Weslland s Road
                                                                                    Apartmen t No. 22E
                                                                                    Taikoo Shing, Hong Kong
                                                                                    China
 FAHM.00                   Mark K. Fahrer                                           6865 San Miguel Avenue                             619-795-2 682
                                                                                    Lemon Grove, CA 91945
                                                                                    USA
 FARM.CO                   legacy Farms Operating Co., LLC                          6960 The Preserve Way
                                                                                    San Diego, CA 92130
 FDCl.00
                                                                                    USA
                           Fortis Developm ent Company                              8750 Holloway Drive
                                                                                    West Hollywood, CA 90069
                                                                                    USA
 FEID.00                   Douglas l. and Deborah l. Feist                          1720 Blackbird Circle                             760-804-0 617
                                                                                    Carlsbad, CA 92011
FITJ.00                                                                             USA
                           James Fitzgerald (Epic Cycle)
                                                                                    USA
FLAR.00                    Richard L II and Christine A Flanagan                    539 Catalina Drive
                                                                                    Newport Beach, CA 92663
FLAV.00
                                                                                    USA
                           Flavor Restauran t & Lounge LLC                         Post Office Box 675913
                                                                                   Rancho Santa Fe, CA 92067
FOFl.00                                                                            USA
                           Fortis Films, Inc.                                      8750 Holloway Drive
                                                                                   West Hollywood, CA 90069
h,c:K00                                                                             USA
                           Krista Freitag
                                                                                   USA
FROS.00                    Salvatore J. and Laura J. Frontiero                     3179 linda Vista Drive
                                                                                   San Marcos, CA 92078-63 03
GAME.DO                                                                             USA
                          Game Empire Los Angeles, Inc.                            1632 Verdugo Boulevard
                                                                                   La Canada, CA 91011
GEGK.00                                                                            USA
                          The Margery Geiler Grandchil dren's Trust                2325 Longfellow Road
                                                                                   Carlsbad, CA 92008
GEIL.00                                                                            USA
                          Leland W. II and Anne L. M. Geiler                       63 i 9 Di Vita Drive
                                                                                   Carlsbad, CA 92009
GEIM.00                                                                            USA
                          Michael B. Geiler                                        6319 Di Vita Drive
                                                                                   Carlsbad, CA 92009
GEIS.00                                                                            USA
                          Sarah    E.   Geifer                                     6319 Di Vita Drive
                                                                                   Carlsbad, CA 92009
GE!W.00                                                                            USA
                          William G. Geiler
                                                                                   6319 Di Vita Drive
                                                                                   Carlsbad, CA 92009
GEMA.OD                                                                            USA
                          GeilerLLC                                                6319 Di Vita Drive
                                                                                   Carlsbad, CA 92009
GlLD.00                                                                            USA
                          Darryl   S.   and Kristen L. Gillespie                   1850 Lake Morena Drive
                                                                                   Campo, CA 91906
GISM.00                                                                            USA
                          Mary D. Gist
                                                                                   18655 West Bernardo Drive
                                                                                   Apartmen t No. 462
                                                                                   San Diego, CA 92127
GlAR.00                                                                            USA
                          Ronald C. Gladnick and Barbara Arvia                     6960 The Preserve Way
                                                                                   San Diego, CA 92130
                                                                                   USA

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                                                                   Partner - Client Code

 Client Number             Client Name                                           Address                             Fax Number
-~-. R.00
                           Margery G. Geiler                                     7407 Via De Fortuna
                                                                                 Carlsbad, CA 92009
                                                                                 USA
 HAMW.00                   William Hammett                                       4615 Pavlov Avenue                  858-551-1601
                                                                                 Apartment No. 17
                                                                                 San Diego, CA 92122
HANL.00
                                                                                 USA
                           Hannavasl,LLC                                         500 West 6th Street
                                                                                 Suite 401-2nd Floor
                                                                                 Austin, TX 78701
                                                                                 USA
HANP.00                    Hannavas, LP                                          500 West 6th Street
                                                                                 Suite 401-2nd Floor
                                                                                 Austin, TX 78701
HARS.00
                                                                                 USA
                           Sandra Biddulph                                       1830 Avenida Mimosa
                                                                                 Encinitas, CA 92024
                                                                                 USA
HASL.00                    Lynn Hasney                                           23232 Tasmania Circle
                                                                                 Dana Point, CA 92629
    'A.00
                                                                                 USA
                           Amanda E. Heidt                                       Post Office Box 3742
                                                                                 Rancho Santa Fe, CA 92067
HEIG.00
                                                                                 USA
                           Richard G. Heidt Ill                                  17963 Camino De La Mitra
                                                                                 Post Office Box 8749
                                                                                 Rancho Santa Fe, CA 92067
HEIM.00
                                                                                 USA
                           Madeline Heidt                                        17963 Camino De La Mitra
                                                                                 Post Office Box 8749
                                                                                 Rancho Santa Fe, CA 92067
J.lfilf'. 00                                                                     USA
                           Frances P. Dealey                                     17963 Camino De La Mitra
                                                                                 Post Office Box 8749
                                                                                 Rancho Santa Fe, CA 92067
HEJL.00
                                                                                 USA
                           Lee E. and Heather M. Hejmanowski                     13472 El Presidio Trail
                                                                                 San Diego, CA 92130
                                                                                 USA
HELl.00                    Heli Supply International, Inc.                       6960 The Preserve Way
                                                                                 San Diego, CA 92130
HENJ.00
                                                                                 USA
                           John A. Hernandez                                     148 Shasta Street
                                                                                 Chula Vista, CA 91910
HEW0.00
                                                                                 USA
                           David C. and Katherine F. Hewitt                      Post Office Box 1302
                                                                                 5445 Los Mirlitos
                                                                                 Rancho Santa Fe, CA 92067
                                                                                USA
HILV.00                   Vance A. Hildeman                                     Post Office Box 675681              858-345-1267
                                                                                Rancho Santa Fe, CA 92067-5681
                                                                                USA
HIPE.00                    Hiperfly, LLC                                        Post Office Box 675681
                                                                                Rancho Santa Fe, CA 92067-5681
                                                                                USA
HOSJ.00                   Jesse S. and Michelle L. Hose                         2403 Sonora Court
                                                                                Carlsbad, CA 92008
lNTR.00
                                                                                USA
                          lntratus, Inc.                                        9834 Genesee Avenue
                                                                                Suite406
                                                                                La Jolla, CA 92037
fWAL.00
                                                                                USA
                          Lynn S. lwaki                                         13533 Tiverton Road
                                                                                San Diego, CA 92130
                                                                                USA
~.00                      Mary A. Jay                                           33 Medina Way
                                                                                Rancho Mirage, CA 92270
                                                                                USA
JAYS.00                   Stephen M. and Sally L. Jay                           1814 South Pacific Street
                                                                                Oceanside, CA 92054-5810
                                                                                USA
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 Client Number              Client Name                                        Address                                              Fax Number
        ,.00                John Boy 1, LLC                                    500 West 6th Street
                                                                               Suite401
                                                                               Austin, TX 78701
JBLP.00                                                                        USA
                            John Boy, LP                                       500 West 6th Street
                                                                               Suite 401
                                                                               Austin, TX 78701
                                                                               USA
JETG.00                     Gary and Meeta Jethani                             330-A Spruce Mill Way
                                                                               Ketchikan, AK 99901
                                                                               USA
JOHC.00                     Calvin W. Johnson and Donna 0. Perdue              4368 Charger Boulevard
                                                                               San Diego, CA 92117-4241
                                                                               USA
JPRO.00                     JP Ronin, Inc.                                     861 Balboa Avenue
                                                                               Coronado, CA 92118
                                                                               USA
KEEA.00                     Keehn & Associates                                 401 B Street
                                                                               Suite 1470
                                                                               San Diego, CA 92101
                                                                               USA
  ~LG.O                     Keehn Law Group, APC
                                                                              San Diego, CA
                                                                              USA
KINE.00                     Edward F. and Marie M. Kincade                    12650 Treehill Place
                                                                              Poway, CA 92064
                                                                              USA
KOMT.00                     Trust Created UI\/V of Pauline S. Komaiko         5075 San Aquaria Drive
                                                                              San Diego, CA 92109
LANR.00                                                                       USA
                            Rodney N. and Lois J. Lanthorne                   6516 Linda Lane
,..-_                                                                         San Diego, CA 92120
                                                                              USA
        -.00                Laohs I, LLC                                      500 West 6th Street
                                                                              Suite 401-2nd Floor
                                                                              Austin, TX 78701
LAOP.00                                                                       USA
                            Laohs, LP                                         500 West 6th Street
                                                                              Suite 401-2nd Floor
                                                                              Austin, TX 78701
LARJ.00
                                                                               USA
                            James and Anne Sinclair Larson                    418 Pomona Avenue *Unable to Forward-12/31/13*
                                                                              Coronado, CA 92118-1940
 ..:ED.00                                                                     USA
                           Dennis W. and Sandra L. Lee                        Post Office Box 1137
                                                                                                                                   760-753-3215
                                                                              Cardiff by the Sea, CA 92007
LEEl.00                                                                       USA
                            Ivar E. and Carolyn Taylor Leetma                 4526 Alhambra Street
                                                                              San Diego, CA 92107
LLER.00                                                                       USA
                           Richard E. and Diane W. Llewellyn                  3432 Camino Alegre
                                                                                                                                   760-943-1644
                                                                              Carlsbad, CA 92009-9512
LLOR.00                                                                       USA
                           Roger W, and Constance Z. Lloyd                    4816 Sunrise Hills Drive
                                                                              El Cajon, CA 92020-8259
LRHG.00                                                                       USA
                           LRH Operating Group, Inc.
                                                                              23232 Tasmania Circle
                                                                              Dana Point, CA 92629
LSAl.00                                                                       USA
                           Logan Spelich Associates Inc.                      5255 Greenwillow Lane
                                                                              San Diego, CA 92130
LUES.00                                                                       USA
                           Scott Lueck                                        656 Crest Drive
                                                                              Encinitas, CA 92024
1~.00                                                                         USA
                           Lux Art Institute
                                                                              1550 South EI Camino Real
                                                                                                                                   760-436-1400
                                                                              Encinitas, CA 92024-4908
LWEN.00                                                                       USA
                           LW Enterprises LLC                                 316 California Avenue
                                                                              Reno, NV 89509
                                                                              USA
                                                              Exhibit A - Page 20 of 33
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  Client Numbe r               Client Name                                                 Addres s                             Fax Numbe r
  ~
             'ROO              Richard M. and Caro! LP. Mac Manus
                                                                                           315 Dublin Drive
                                                                                                                                760-434-0556
                                                                                           Cardiff, CA 92007
  MAJM.0 0                                                                                 USA
                               Joseph M. and Lisa D. Marcare lli                           4237 East Roma Avenue
                                                                                           PhoenlX, AZ 821018
 MANO.CO                                                                                   USA
                               Owen L. and Julie Manor                                     8494 Warden Lane                     858-408-3631
                                                                                           San Diego, CA 92127
 MARA.0 0                                                                                  USA
                               Raymon d      R   Macalus o                                 1157 San Pablo Drive
                                                                                           San Marcos, CA 92078
 MARH.0 0                                                                                  USA
                               Ashkan Marsh                                               224 East 52nd Street
                                                                                          Apartme nt No. 11
                                                                                          New York, NY 10022-6 229
 MARS.CO                                                                                  USA
                               Sheila Marsh
                                                                                          12 Santa Luzia Aisle
                                                                                           Irvine, CA 92606-8 887
 MASJ.0 0                                                                                  USA
                               Judy A. Mascari                                            Post Office Box 964
                                                                                          Escondido, CA 92033
   ,AZE.00                                                                                USA
                               Mazef Bioscien ces LLC                                     4628 Rancho Reposo
                                                                                          Del Mar, CA 92014
                                                                                          USA
 MCCJ.0 0                      James   E.   and Barbara      B.   Mc Cormick              1335 San Julian Lane
                                                                                          San Marcos, CA 92078
                                                                                          USA
 MCLD.0 0                      Duncan R.     B. McLare n and Kathleen S. Bolus            2046 Coolngr een Way
                                                                                          Encinita s, CA 92024
MCSl.0 0                                                                                  USA
                               Markom Commu nication Services , Inc.
,.,..,,,,_                                                                                6865 San Miguel Avenue               619-795-2682
                                                                                          Lemon Grove, CA 91945
1,,... 1M.OO                                                                              USA
                               Martha C. Meiners                                          3778 Paseo Vista Famosa
                                                                                          Rancho Santa Fe, CA 92091-4 115
                                                                                          USA
MENJ.0 0                      Josh Mendes                                                 208 West J Street
                                                                                          Encinitas, CA 92024
MHlL00                                                                                    USA
                              Manor House Investm ents LLC                                c/o Owen Manor
                                                                                          8494 Warden Lane
                                                                                          San Diego, CA 92127
   JCS.CO                                                                                 USA
                              Shawn T. and Elena Michels                                  7418 Carlina Street
                                                                                          Carlsbad, CA 92009
M!ND.0 0                                                                                  USA
                              Daniel   c.   and Vicki L. Minteer                          Post Office Box 675568
                                                                                          Rancho Santa Fe, CA 92067
MOHR. 00                                                                                  USA
                              Harper E. Moore                                             1466 Turquoi se Drive
                                                                                          Carlsbad, CA 92009
MOLD.CO                                                                                   USA
                              Delaram Pour Mofkara
                                                                                         10302 Scripps Poway Parkwa y
                                                                                         Apartme nt No. 10
                                                                                         San Diego, CA 92131
MOOD, 00                                                                                 USA
                              David W. and Karen T. Moore                                1466 Turquoi se Street
                                                                                         Carlsbad, CA 92009
MOOH. 00                                                                                 USA
                              Hanna W. Moore
                                                                                         1466 Turquoi se Drive
                                                                                         Carlsbad, CA 92009
MOOK. 00                                                                                 USA
                              Kirsten C. Moore                                           1466 Turquoi se Drive
                                                                                         Carlsbad, CA 92009
        (L.00                                                                            USA
                              Morsels 1, LLC                                             500 West 6th Street
                                                                                                                              512-322 -9345
                                                                                         Suite 401
                                                                                         Austin, TX 78701
                                                                                         USA

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                                                     Client Address Listing
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Client Number             Client Name                                         Address                                          Fax Number
~
    'M.00                 Michael W. and Gail L. Morehead                     13225 Avenida La Valencia
                                                                              Poway, CA 92064
                                                                              USA
MORP.00                   Morsels, LP                                         500 West 6th Street                              512-322-9345
                                                                              Suite401
                                                                              Austin, TX 78701
                                                                              USA
MOTF.00                   Faye F. Motamedi                                    6174 Soledad Mountain Road
                                                                              ** NO LONGER AT THIS ADDRESS - 11/07/12 **
                                                                               "" NO FORWARDING ADDRESS PROVIDED **
                                                                              La Jona, CA 92037
                                                                              USA
MUEU.00                   Ulrich Mueller and Anastasia Kralli                 561 North Rios Avenue                             858-784-7299
                                                                              Solana Beach, CA 92075
                                                                              USA
NABM.00                   Michael D. and Lorinda R. Nabors                    11667 Chippenham Way
                                                                              San Diego, CA 92128
                                                                              USA
NCHB.00                   NCHB, LLC                                           2403 Sonora Court
                                                                              Carlsbad, CA 92010
                                                                              USA
  'NA.00                  400 Nueces, LP                                      500 West 6th Street                              512-322-9345
                                                                              Suite 401
                                                                              Austin, TX 78701
                                                                              USA
NSGS.00                   North Shore Girls Softball league                   3830 Valley Centre Drive
                                                                              Apartment No. 705-201
                                                                              San Diego, CA 92130
                                                                              USA
OPPl.00                   Ira G. Opper and Gerri A. Retman                    225 South Granados Avenue
                                                                              Solana Beach, CA 92075
                                                                              USA
-~R.00                    Opper Sports, Inc.                                  225 South Granados Avenue
                                                                              Solana Beach, CA 92075
                                                                              USA
OTRl.00                   On The Rebound, Inc.                                629 South Coast Highway 101
                                                                              Encinitas, CA 92024
                                                                              USA
OWLL.00                   Owlsong I, LLC                                      500 West 6th Street
                                                                              Suite 401
                                                                              Austin, TX 78701
                                                                              USA
OWLP.00                   Owlsong, LP                                         500 West 6th Street
                                                                              Suite 401
                                                                              Austin, TX 78701
                                                                              USA
PALA00                    Allison B. Palisoul                                 2653 Ocean Street
                                                                              Carlsbad, CA 92008
                                                                              USA
PALC.00                   The Palisoul Company, Inc.                          2653 Ocean Street                                760-434-8622
                                                                              Carlsbad, CA 92008
                                                                              USA
PALM.00                   The Palms at North Vulcan LLC                       Post Office Box 232344
                                                                              Leucadia, CA 92023-2344
                                                                              USA
PALP.00                   Philip R. and Pamela F. Palisoul                    2653 Ocean Street                                949-224-4101
                                                                              Carlsbad, CA 92008-2238
                                                                              USA
PAMG.00                   Mary G. Palisoul                                    140 Kilsyth Road
                                                                              Apartment No. 1
                                                                              Brighton, MA 02135
                                                                              USA
PEAK.00                   Peak Aviation, LLC                                  6960 The Preserve Way
                                                                              San Diego, CA 92130
                                                                              USA
~.00                      Jose R. and Ma Ana Peraza                           20465 Highway 94
                                                                              Dulzura, CA 91917
                                                                              USA
PERL.DO                   Lori A. Perfetto                                    2265 Manchester Avenue
                                                                              Cardiff, CA 92007
                                                                              USA

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                                                      Client Address Listing
                                                               Partner - Client Code

Client Number             Client Name                                        Address                                       Fax Number
-~-100                    James A. and Michelle M. Pettit                    861 Balboa Avenue                             619-437-8504
                                                                             Coronado, CA 92118
                                                                             USA
PETS.00                   Scott N. Pettit
                                                                             ,CA
                                                                             USA
POER.CO                   Robert L. and Judith A. Poen                       584 Sunnyglen Way
                                                                             Sunny Valley, OR 97497
PRIM.00
                                                                             USA
                          Prim Analytics LLC                                 5694 Mission Center Road
                                                                             Suite 602·455
                                                                             San Diego, CA 92108-4324
                                                                             USA
PSYM.00                   Maria E. Psyhogios                                 3575 Caminito El Rincon
                                                                             Apartment No. 215
                                                                             San Diego, CA 92130
                                                                             USA
RAMR.0                    Ramchand, Robert
                                                                             London,
                                                                             England
RANJ.00                   Jose Antonio Rangel and lrma Espinoza Padilla      591 Telegraph Canyon Road
                                                                             Post Mail Box 502
                                                                             Chula Vista, CA 91910
                                                                             USA
RCGH.00                   RCG Holdings, LLC                                  6960 The Preserve Way
                                                                             San Diego, CA 92130
                                                                             USA
REEA.00                   Alvis L. and Revena I. Reed                        Post Office Box 713
                                                                             Solana Beach, CA 92075
                                                                             USA
RGPM.00                   R&G Precision Machining, Inc.                      2585 Jason Court
                                                                             Oceanside, CA 92056
~
                                                                             USA
     =.oo                 Filipa B. Rios                                     32460 Shadow Canyon Trail
                                                                             Wildomar, CA 92595
                                                                             USA
ROBA.00                   Andrew W. and Diane S. Robertson                   2535 Elfentown Road
                                                                             La Jolla, CA 92037-1120
                                                                             USA
ROBC.00                   Charles F. and Jeannie E. Robbins                  935 Milmada Drive
                                                                             La Canada, CA 91011
ROBL.00
                                                                             USA
                          Laurel B. Roberts                                  1549 Lower Lake Court
                                                                             Cardiff by the Sea, CA 92007
                                                                             USA
ROLE.00                   Estate of Linda J. Roth                            c/o Joshua Roth, Co-Executo r/Trustee
                                                                             1250 Villa Woods Drive
                                                                             Pacific Palisades, CA 90272
RONR.00
                                                                             USA
                          Rochelle Rondon                                   Post Office Box 2162
                                                                            Del Mar, CA 92014
                                                                            USA
ROSB.00                   Barry J. and Marlene L. Ross                      343 Punta Baja Drive
                                                                            Solana Beach, CA 92075
ROSS.DO
                                                                            USA
                          Stephen J. and Ann Marie Ross                     20902 North River Run Lane
                                                                            Colbert, WA 99005
                                                                            USA
ROTL00                    Linda   J. Roth                                   139 27th Street
                                                                            Del Mar, CA 92014
RTRT.00
                                                                            USA
                         Room to Room Two LLC                               905 Iron Horse Court
                                                                            San Marcos, CA 92078
                                                                            USA
RVRH.00                  2705 River Hills, LP
~\                                                                          500 West 6th Street                           512-322-9345
                                                                            Suite 401
                                                                            Austin, TX 78701
                                                                            USA
RYAS.00                  Sandra Ryan                                        8555 Station Village Lane
                                                                            Suite 334
                                                                            San Diego, CA 92108
                                                                           USA
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                                                         Client Address listing
                                                                  Partner - Client Code

Client Number              Client Name                                          Address                                        Fax Number
.,-,,,
         ).00              Donald M. Sadiarin                                   7865 Via Belfiore
                                                                                Apartment No. 3
                                                                                San Diego, CA 92129
                                                                                USA
SAGA.OD                    Ashish Sagar                                         13143 Kellam Court *Unable to Forward*
                                                                                Apartment No. 47
                                                                                San Diego, CA 91230
                                                                                USA .
SA!l.00                    SAi Investments LLC                                  330-A Spruce Mill Way
                                                                                Ketchikan, AK 99901
                                                                                USA
SCLD.00                    Lindsey R. Dealey                                    17963 Camino De la Mitra
                                                                                Post Office Box 8749
                                                                                Rancho Santa Fe, CA 92067
                                                                                USA
SCPl.00                    Scarecrow Productions, Inc.                          8750 Holloway Drive
                                                                                West Hollywood, CA 90069
                                                                                USA
SDBF.00                    San Diego Bankruptcy Forum                           380 Stevens Avenue
                                                                                Suite 210
                                                                                Solana Beach, CA 92075
                                                                                USA
.::;EEC.CO                 Clark Seegmiller                                     10655 Park Run Drive
                                                                                Suite 250
                                                                                Las Vegas, NV 89144
                                                                                USA
SEEM.CO                    Margie C. Seegmiller                                 1422 Baypointe Drive
                                                                                Newport Beach, CA 92660
                                                                                USA
SEEP.CO                    Seegmiller Partners, LLC                             10801 West Charleston Boulevard
                                                                                Suite 560
                                                                                Las Vegas, NV 89135-1207
~                                                                               USA
     .=too                 Rebecca Seegmiller                                   56 Turn Leaf
                                                                                Irvine, CA 92603
                                                                                USA
SEES.CO                    Scott Seegmiller                                     5042 Wilshire Boulevard
                                                                                Unit No. 22176
                                                                                Los Angeles, CA 90036
                                                                                USA
SEEW.00                    William W. and Margie C. Seegmiller                  4695 MacArthur Court                           949-225-3933
                                                                                Suite 200
                                                                                Newport Beach, CA 92660
                                                                                USA
..,ElS.00                  SEI Structural Engineers, Inc.                       1830 Avenida Mimosa
                                                                                Encinitas, CA 92024
                                                                                USA
SEJO.00                    Seegmiller Johnson, A Professional Corp.             4695 MacArthur Court
                                                                                Suite 200
                                                                                Newport Beach, CA 92660
                                                                                USA
SELF.O                     The Seegmiller Law Firm APC
                                                                                USA
SELS.00                    Shyam Selvarajan and Satri Phommasy                  5694 Mission Center
                                                                                Suite 602-455
                                                                                San Diego, CA 92108
                                                                                USA
SELV.00                    Selvarajan Group, Inc.                               5694 Mission Center
                                                                                Suite 602455
                                                                                San Diego, CA 92108
                                                                                USA
SHED.DO                    Dana Sheru:, Inc.                                    15843 Camlnito Cantaras
                                                                                Del Mar, CA 92017
                                                                                USA
SHER.00                    Dana Shertz and Michelle A. Gerevas                  15843 Caminito Cantaras
.~
                                                                                Del Mar, CA 92014
                                                                                USA
SIUA.00                    Aaron   J.   Kam Siu and Karen J. Nordin             4467 Caminita Cuarzo
                                                                                San Diego, CA 92117-3618
                                                                                USA


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Client Number             Client Name                                        Address                              Fax Number
~'1.00                    Jameson P. and Nicole M. Slattery                  5052 Ciardi Court
                                                                             Carlsbad, CA 92008
                                                                             USA
SLOW.00                   William V. and Patricia Slocum                     2214 Vista La Nisa
                                                                             Carlsbad, CA 92009
                                                                             USA
SOLl.00                   Solterra Lighting, Inc.                            5375 Avenida Encinas
                                                                             Suite A
                                                                             Carlsbad, CA 92008
                                                                             USA
SOMN.00                   Norm and Saundra Somach                            7171 Rock Valley Court
                                                                             San Diego, CA 92122
                                                                             USA
SOMR.00                   Robert B. and Patsy R. Sommer                      137 Desert Lakes Drive
                                                                             Palm Springs, CA 92264
                                                                             USA
SPEJ.00                   John W. Spelich and Lacey Logan                    5255 Greenwillow Lane                011-852-2215-:
                                                                             San Diego, CA 92130-2892
                                                                             USA
SROW.00                   Second Row Productions, Inc.                       10217 Avenida Magnifica
                                                                             San Diego, CA 92131
                                                                             USA
SSLC.00                   307 Silver Strike LLC                              c/o Linda 8. Dieckmann
                                                                             363 Prospect Street
                                                                             La Jolla, CA 92037
                                                                             USA
STll.00                    Seawind International, Inc.                       5375 Avenida Encinas                 760-438-5677
                                                                             Suite A
                                                                             Carlsbad, CA 92008
                                                                              USA
STLC.00                    Stratford Arms, LLC                               500 West 6th Street                  512-322-9345
                                                                             Suite 401
                                                                             Austin, TX 78701
                                                                             USA
i.:l!LP.00                 Stratford Arms, LP                                500 West 6th Street                  512-322-9345
                                                                             Suite 401
                                                                             Austin, TX 78701
                                                                             USA
STRD.00                   Deborah J. Stranton and D. R. Belden               2050 Mackinnon Avenue
                                                                             Cardiff by the Sea, CA 92007
                                                                             USA
STRJ.00                   Strada Family Trust
                                                                             La Jolla, CA 92037
                                                                              USA
"', llW.00                William N. Stuckey                                 227 Pile Street
                                                                             Ramona, CA 92065
                                                                             USA
SUNN.00                   Miss Sun, LLC                                      380 Stevens Avenue
                                                                             Suite 210
                                                                             Solana Beach, CA 92075
                                                                             USA
TARP.CO                   T & R Professionals                                1430 Bridgeway Street
                                                                             Apartment No. 10
                                                                             Anchorage, AK 99501
                                                                             USA
TAYB.00                   Bypass Trust B of Taylors Rev Decla Tr Did 5/1     1430 Bridgeway Street
                                                                             Unit No. 10
                                                                             Anchorage, AK 99501
                                                                             USA
TAVE.DO                   Estate of Michael Taylor                           Maureen Taylor, Trustee
                                                                             1430 Bridgeway Street
                                                                             Apartment No. 10
                                                                             Anchorage, AK 99501
                                                                             USA
TAYM.00                   Maureen T. Taylor
.-.,_                                                                        1430 Bridgeway Street
                                                                             Apartment No. 10
                                                                             Anchorage, AK 99501
                                                                             USA
TAYT.00                   Thelma l. Taylor                                   20465 Highway 94
                                                                             Oulzura, CA 91917-1611
                                                                             USA

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                                                                    Gonzales & Zaslow LLP                       Page: 13
                                                             Client Address Listing
                                                                   Partner • Client Code

Client Number                 Client Name                                        Address
,,,,..,,,                                                                                                             Fax Number
            l.00              John and Eugenia E. Theodorakis                    3544 Caminito El Rincon
                                                                                 Unit No. 48
                                                                                 San Diego, CA 92130-2318
                                                                                 USA
THOR.00                       Richard Thoma                                      831 Starflower Road
                                                                                 Encinitas, CA 92024
                                                                                 USA
THOS.00                        Richard and Sandra L. Thoma                       831 Starflower Road
                                                                                 Encinitas, CA 92024
                                                                                 USA
TJDT.00                       Trevor J. Dieckmann 2011 Trust                     Trevor J. Dieckmann, Trustee
                                                                                 802 West Wolfram
                                                                                 Unit No. 3N
                                                                                 Chicago, IL 60657
                                                                                 USA
TMPR.00                       TMP Restaurant Group LLC                           922 Marisa Lane
                                                                                 Encinitas, CA 92024
                                                                                 USA
TMRG.00                       T & M Restaurant Group, Inc.                       11940 Bernardo Plaza Drive
                                                                                 San Diego, CA 92128
                                                                                 USA
   VITA.CO                    T & M Taylor LLC                                   1430 Brdigeway Street
                                                                                 Apartment No. 10
                                                                                 Anchorage, AK 99501
                                                                                 USA
TORA.00                       Ann R. Torrey                                      1970 Silverteaf Circle
                                                                                 Apartment No. G111
                                                                                 Carlsbad, CA 92009
                                                                                 USA
TRAM.00                        Michael H. and Cynthia Tracy                      2920 Rancho Brasado
                                                                                 Carlsbad, CA 92009
                                                                                 USA
~.00                           Peggy E. Tracy                                    2920 Rancho Brasado
                                                                                 Carlsbad, CA 92009-3030
                                                                                 USA
TRMS.00                        Matthew S. Treger                                 10601 Tierrasanta Boulevard          (858) 715-1616
                                                                                 Suite402
                                                                                 San Diego, CA 92124
                                                                                 USA
TSPL00                         Two Slice Productions, Inc.                       8750 Holloway Drive
                                                                                 West Hollywood, CA 90069
                                                                                 USA
TUEP.00                       TDD Enterprises                                    365 Pacific Avenue
                                                                                 Solana Beach, CA 92075
                                                                                 USA
V!Cl.00                       Visitor Information Center. Inc.                   5171 San Aquaria Drive
                                                                                 San Diego, CA 92109
                                                                                 USA
VILP.00                        Village Lindo Paseo, LP                           3525 Del Mar Heights Road
                                                                                 Apartment No. 751
                                                                                 San Diego, CA 92130
                                                                                 USA
VLPA.00                       VLP,LLC                                            3525 Del Mar Heights Road
                                                                                 Apartment No. 751
                                                                                 San Diego, CA 92130
                                                                                 USA
WAGK.00                        Lori A Wagner                                     1000 Lands End                       760-735-2489
                                                                                 Carlsbad, CA 92011
                                                                                 USA
WALD.00                        Dale Walker                                       3567 Corte Rosado
                                                                                 Carlsbad, CA 92009
                                                                                 USA
WALH.00                       Herbert F. Walters                                 1045 Santa Helena Court
                                                                                 Solana Beach, CA 92075
                                                                                 USA
~HOO                          Waggie Wash, Inc.                                  Post Office Box 1211
                                                                                 Carlsbad, CA 92018-1211
                                                                                 USA
WCLL.00                       White Cap Labs LLC                                 327 J Avenue
                                                                                 Coronado, CA 92118
                                                                                 USA

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                                                      Client Address Listing
                                                                 Partner • Client Code

 Client Number            Client Name                                          Address                                       Fax Number
 ~,
.      'J.00              John M. and Elizabeth Weems                          1704 Fort Stockton Drive
                                                                               San Diego, CA 92103
                                                                               USA
 WELT.00                  Welchlin Family Trust                                14744 Fairtree Terrace
                                                                               Poway, CA 92064
                                                                               USA
 WEST.DO                   California Attorneys Group, Inc.                    1920 Main Street
                                                                               Suite 840
                                                                               Irvine, CA 92614
                                                                               USA
 WFTB.00                   Wagner Family Trust Dated    11/9/2001 "B"          c/o Lori A. Wagner Trustee
                                                                               1000 Lands End Court
                                                                               Carlsbad, CA 92011
                                                                               USA
 WHIB.00                   Bryce A. and Erin D. Whiting                        157 Cerro Street
                                                                               Encinitas, CA 92024
                                                                               USA
 WILD.OD                   Dean   R and Deborah S. Wilson                      Post Office Box 81676                         619-291-9432
                                                                               San Diego, CA 92138
                                                                               USA
...lNfLG.00                Gerald C. and Adelheid H. Williams                  7217 Daffodil Place
                                                                               Carlsbad, CA 92009-4812
                                                                               USA
 WILL.00                   Larry Williams and Louise Stapleton                 Post Office Box 24150 GBS
                                                                               Christiansted, VI 00824
                                                                               USA
 WMCC.00                   W. Michael Corson & Co. APC {Not billable)          380 Stevens Avenue                            858-792-3740
                                                                               Suite 210
                                                                               Solana Beach, CA 92075
                                                                               USA
 WOOV.00                   Virginia L. Wood                                    Post Office Box 848                           360-376-5554
                                                                               Eastbound, WA 98245
 ,,-,,_                                                                         USA
       tM.00               Sean M. and Jessica M. Corson                       1715 Freda Lane
                                                                               Cardiff by the Sea, CA 92007
                                                                                USA
 WSKY.00                   Western Sky Marketing, LLC                           1704 Fort Stockton Drive
                                                                                San Diego, CA 92103
                                                                                USA
 XARA.00                   Xara Learning Village Incorporated                  Post Office Box 600616
                                                                               * No longer at this address 01/14/13 •
                                                                               San Diego, CA 92160
                                                                                USA
    IJS.00                 John S. and Esther C. Yi                             5731 Cape Jewels Trail
                                                                                San Diego, CA 92130
                                                                                USA
 ZETA.00                   Andrew J. Zetts                                     201 0A Mackinnon Avenue
                                                                               Cardiff, CA 92007-1714
                                                                                USA




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                                                     Client Address Listing
                                                        Secondary Partner - Client Code

Client Number             Client Name                                      Address                             Fax Number
~
    ondary Partner: Corson, W. Michael (0001)

AJWF.00                   Arjun and Judith Waney Foundation                46 Lowndes Square
                                                                           Flat No. 16
                                                                           London, UK SW-1
                                                                           England
BERB.00                    Barry and Jacqueline Bernstein                  6482 Edmonton Avenue
                                                                           San Diego, CA 92122
                                                                           USA
BERD.00                    Daniel Berman and Lisa Davis-Berman             31243 N. 42nd Place
                                                                           Cave Creek, l<l. 85331
                                                                           USA
BOUF.00                    Bouffe, LP                                      12523 Avenida Tineo                 858-673-5471
                                                                           San Diego, CA 92128-3139
                                                                           USA
CANT.CO                    Cantine, LLC                                    12523 Avenida Tineo                 858--673-5471
                                                                           San Diego, CA 92128-3139
                                                                           USA
CARD.OD                    Dennis A. and Sandra C. Carson                  9672 Claiborne Square               same as home
                                                                           La Jolla, CA 92037-1152
                                                                           USA
  NF.CO                    Crime Victims Fund                              1122 Broadway
                                                                           Suite 200
                                                                           San Diego, CA 92101
                                                                           USA
DORF.DO                    Roberta F. Dosick                               c/o Wayne Dosick                    760-943-7936
                                                                           3207 Cadencia Street
                                                                           La Costa, CA 92009
                                                                           USA
DOSR.00                    Rona G. Dosick                                  3498 Voyager Circle
                                                                           San Diego, CA 92130
                                                                           USA
~W.00                      Wayne D. and Ellen L. Kaufman Dosick            3207 Cadencia Street
                                                                           La Costa, CA 92009
                                                                           USA
FRAA.0C                    Alejandra Frank                                 210 Ashbury
                                                                           San Francisco, CA 94117
                                                                           USA
FRAS.0C                    Stewart L. Frank, MD                            4060 Fourth Avenue                  619-296-7618
                                                                           Suite 605
                                                                           San Diego, CA 92103-2121
                                                                           USA
r.oLN.00                   Norman and Connie Goldbach                      Castiglion Cello Del Trinoro
                                                                           Sarteano, 53047
                                                                           ITALY
HALP.00                    Patrick A. Halcewicz                            2567 Greyling Drive                 858-673-5471
                                                                           San Diego, CA 92123
                                                                           USA
HUHO.00                    Hunterco Holdings Ltd.                          240 Varsity Estates Terrace NW
                                                                           Calgary, AB T3B 5J4
                                                                           Canada
MCKA.00                    Anthony C. and Eileen G. McKoy                  4307 Rous Street
                                                                           San Diego, CA 92122-2630
                                                                           USA
NWTT.00                    Nita Waney Trust                                c/o Naveen Waney
                                                                           4940 Della Place
                                                                           San Diego, CA 92117
                                                                           USA
PATW.00                    Patwan, Inc. dba French Market Grille           2567 Grayling Drive
                                                                           San Diego, CA 92123
                                                                           USA
PFCS.00                    Palomar Family Counseling Service, Inc.         1002 East Grand Avenue
                                                                           Escondido, CA 92025
                                                                           USA
~.00                       Phillipas & Son, Inc.                           1451 Sunrise Drive
                                                                           Vista, CA 92084
                                                                           USA
PHIS.OD                    Steven M. and Pamela J. Phillips                1451 Sunrise Drive
                                                                           Vista, CA 92084
                                                                           USA


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                                                        Client Address Listing
                                                          Secondary Partner • Client Code

Client Number             Client Name                                        Address                       Fax Number
,,,_,_
     r.oo                 Restau, LLC                                        c/o Patrick Halcewicz
                                                                             2567 Greyling Drive
                                                                             San Diego, CA 92123
                                                                             USA
SAAL.CO                   Alon Sachar                                        5876 Ciudad Leon Court
                                                                             San Diego, CA 92120
                                                                             USA
SACA.00                   Avram and Dina Sachar                              5876 Ciudad Leon Court        858-748-2344
                                                                             San Diego, CA 92120-3965
                                                                             USA
SACl.00                    Sactel Investment, LLC                            5876 Ciudad Leon Court
                                                                             San Diego, CA 92120
                                                                             USA
SACO.OD                    Oren and Shiran R. Sachar                         1280 Terracina Lane
                                                                             San Diego, CA 92103
                                                                             USA
SACT.00                   Tomer and Jennifer Sachar                          5876 Ciudad Leon Court
                                                                             San Diego, CA 92120
                                                                             USA
SLFl.00                    Stewart L. Frank, MD, Inc.                        4060 Fourth Avenue            619-296-7618
                                                                             Suite605
                                                                             San Diego, CA 92103
                                                                             USA
TAUR.00                    Robert W. Tauber                                  7450 Olivetas Avenue
                                                                             Apartment No. 386
                                                                             La Jolla, CA 92037
                                                                             USA
WANA.00                    Arjun C. and Judith D. Waney                      46 Lowndes Square
                                                                             Flat 16
                                                                             London, SW-1
                                                                             ENGLAND
WANl.00                    Nita Waney                                        4920 Della Place
                                                                             San Diego, CA92117
                                                                             USA
\lv/'\NN.00                Naveen H. and Michelle E. Waney                   4940 Della Place              619-546-4350
                                                                             San Diego, CA 92117
                                                                             USA
WANT.CO                    Nita Waney Trust                                  4920 Della Place
                                                                             San Diego, CA 92117
                                                                             USA
ZORS.00                    Sherri L. Zorn                                    13024 Caminito de! Rocio
                                                                             Del Mar, CA 92014
                                                                             USA




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EXHIBITB

Exhibit B to the Asset Purchase Agreement between Anton & Chia LLP and W. Michael Corson &
Co. APC dated August 31, 2014 consists of the two page "2013 Federal Summary Depreciation
Schedule" attached.




a&c_poa-exhibit.docx
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12131113                                      2013 FEDERAL SUMMARY DEPRECIATION SCHEDU E                                                                                                                            PAGE
CLIENTWMCC                                                                                         W. MICHAEL CORSON & CO. APC                                                                                      XX-XXXXXXX
9/05/14                                                                                                                                                                                                                 05:04PM

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                                                1Q...,_N_ __                          ACOJIIRFD           SOJO                BASIS           _.e.cr_ _ _..s""'pA"--____..,QF...,..P.,.R_        METHOD     JJEE.      Pf PR
    -78 FIEOf:P:-OREBENZA                                                            5 / H ~ » B B f r ·· · ·                                              --                           496      200DB HY       7               110
    ~TERAl:S ~·==------~""'57+1:1-1'0--·-··==-~~~= -··"®'i&···-·--· -                                                                                                                   477      200DB HY       7               106
    ~~A       -- ----~fl-3/lQ .-,--- ==-•--···= = "91-8-1=-===                                                                                                                          214      200DB HY       7                48
    ~,NH1,JR f                                                                    - 121-21,110                                       1,+04,      -~--·-asa==                            621      200DB HY       7               138
 ~ ~ ~ - t t : - = ~ - - t i 1 · 3 f t l ~ ~ ~ -..~-= --        - el22                                                                                                                      86   200D8 HY       7                39
 ""=8€=-W~N-S #AIR&,ESr~"-- G/l§fi.1 l==- - -=---=       . .• . .~,G                                                                           ••• __,__                              2,434      200D8 HY       7              1,098
                                                                                                                                                                                      3,493      200DB HY       7                 0

               TOTAL 1511 - OFFICE FURNITURE                                                                                       69,286                                0           58,378                                    1,995
        1512 - COMPUTER HARDWARE AND OF

       18 HP LAN CARDS (5)                                                            1/18/97                                          950                                              950      200DB HY       5                 0
      19 HOOVER VACUUM                                                               4/02/00                                           330                                              330      200DB HY       7                 0
      20 HP XW4100                                                                    5/24/04                                        1,265                                            1,265      20008 HY       5                 0
      25 HP SERVER                                                                   2/10/05           12/30/13                      3,145                                            3,145      200D8 HY       5                 0
      26 SONY 19" FLATPANEL                                                           2/10/05          9/15/13                         650                                              650      200D8 HY       5                 0
      27 NETGEAR SWITCH                                                               2/10/05          12/30/13                        464                                              464      200DB HY       5                 0
      28 MEMORY STRIPS (2 SETS)                                                       2/10/05                                          200                                              200      200D8 HY       5                 0
      29 SONY 17" FLATPANEL                                                          3/02/05           9/15/13                         228                                              228      200D8 HY       5                 0
   ~ i : S r = = - = - ' · ·q,-,,,,~,M-1~(:)9f0§ ...                                                                                 1;0&9                                            1,059      200DB HY       5                 0
   -,,,31 GABI,~                                                                   ---4-;i.,quo§ ...                                   29l                                              291      200DB HY       5                 0
      37 HP PAVILLION LAPTOP                                                         8/10/06                                         1,516                                            1,516      200D8 HY       5                 0
    "'41--'.'tlR6LW:,j:iOU::r:&R.(~•--===-=e-=e.lobl,i21,1,,i.wll7-=-~===·=-··==                                                ... ·~»==- ___,                                         235      200D8 HY       5                 0
   ..,=4<1¥~-MA11t-SB1r10r-#6tt1Kofsfi,;1<.:01-1-o~~···==-~-.....,;.;,iG~ila
                                                                                                                                                                                      2,512      200D8 HY       5                 0
      43 HP MINI-TOWER (2)                                                            2/09/07                                        2,380                                            2,380      200D8 HY       5                 0
      44 HP 17° LAPTOP                                                               11 /09/07                                       1,454                                            1,454      200D8 HY       5                 0
      48 HP COMPAQ DESKTOP                                                            6/10/08                                        . 665                                              628      200D8 HY       5                37
      49 HP P4015X PRINTER                                                           6/10/08                                         1,808                                            1,704      200DB HY       5               104
   ,=50,.,.,#Mfl.~4t/JA~l361,:1eE,t=:i;,eil,J'<J,!,p.;j;+l,Q!~D=.=-·=·=--=·····     .,S/,1\ /08 .. .   .~--=·--·-·-=·--·-·····=·.~.~-=··--2-,,1,00=----·                              1,982      200D8 HY       5               121
      53 MEMORY 512MB                                                                4/11 /09                                          245                                              245      200DB MQ       5                 0
      61 AVAYA PHONE SYSTEM                                                          11/01/09                                       7,134                                             7,134      200D8 MQ       5                 0
 ==""""614-<4=1Mo1<~~Ml-ll'J.fillPl-cTt1iOfWWl,l,ERi+Ebe\'\OO-r)= = -             ... +~---=~== =·===""'7M<J1l=== ~-                                                                    711      200DB MQ       5                 0
      83 HP PROW/STA, LA1905 MON.                                                    5/09/10                                         1,349                                              961      200D8 HY       5               155
      90 HP LAPTOP AND DOCK                                                          6/05/12                                         1,939                                            1,939      200DB HY       5                 0
      91 IPAD AND COVER                                                              6/11/12                                         1,018                                            1,018      200DB HY       5                 0
      92 CABLE MODEM                                                                 4/20/12                                           172                                              172      200DB HY       5                 0
      95 SERVER                                                                      5/18/12           12/30/13                     4,563                                             4,563      200D8 HY       5                 0
      97 HPWORKSTATION                                                               1/27/12                                        2,586                                             2,586      200D8 HY       5                 0
              TOTAL 1512 · COMPUTER HARDW                                                                                          40,972                               0            40,322                                     417



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                                                                                                                                                                              y
,,- ,CLIENT WMCC                                                 W. MICHAEL CORSON & CO. APC                                   f'\) A/               XX-XXXXXXX
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                 1513 - COMPUTER SOFTWARE


                21 WINDOWS XP UPDATES                3/31/03                     1,973                                1,973    200DB HY          3                  0
                22 SYMANTEC ANTIVIRUS                4/09/04                         339                                339    200DB HY          3                  0
                32 SYMANTEC ANTIVIRUS                2/18/05                         233                                233    2000B HY          3                  0
                33 TIMESLIPS 2005                    5/18/05                         911                                911    200D8 HY          3                  0
                38 M/SOFT SERVER LIC. (5)            9/11/06                         364                                364    20008 HY          3                  0

                40 SYMANTEC INTERNET SEGUR.          2/28/06                         336                                336    200D8 HY          3                  0
                45 SYMANTEC UPGRADE                  2/09/07                         250                                250    2000B HY          3                  0
                46 OFFICE 2007                       8/10/07                         450                                450    200D8 HY          3                  0

                51 MICROSOFT OFFICE 2007             6/11 /08                        475                                475    200D8 HY          3                  0
                 52 PEACHTREE 2009                   4/11/09                         431                                431    200D8 MQ          3                  0
                 54 PEACHTREE 2009 NETWORK           5/21 /09                        457                                457    200D8 MQ          3                  0
                 65 MICROSOFT OFFICE BASIC           11 /01/09                       255                                255    200DB MQ          3                  0
                 66 MICROSOFT ACCESS                 11/15/09                        505                                505    2000B MQ          3                  0
                 73 MICROSOFT OFFICE 2007            1/11/10                         468                                433     200DB HY             3             35
,,4'81,,         80 SYMAN. ANTIVIRUS LICENSE         4/11/10                         117                                108     2000B HY             3              9
                 81 ADOBE PRO LICENSE                6/11/10                         449                                416     200DB HY             3             33
                 82 QUICKBOOKS 2010                  9/11 /10                        250                                231     2000B HY             3              19
                 89 WINDOWS 7 UPGRADES               6/15/11                      2,316                                1,801    200DB HY             3             343
                 93 PRO FX INSTALLMENT               6/22/12                     10,529                                7,019    200DB HY             3        2,340


                       TOTAL 1513 • COMPUTER SOFTW                               21,108                    0       16,987                                     2,779




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Exhibit C Loaned Equipment




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                                             I         B
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                          Amendment to Asset Purchase Agreement

An Agreement was made by and between Anton & Chia, LLP ., a California Limited Liability
Partnership (the "Purchaser") and W. Michael Corson & Co. APC, a California Professional
Corporation ("Corson" or "Seller") on the 31 st day of August, 2014 (hereinafter referred to as
"Original Asset Purchase Agreement") set forth below.

WHEREAS, the parties wish. to modify and amend the terms of the Original Asset Purchase
Agreement as set forth herein.

NOW THEREFORE, in consideration of the mutual promises herein, the parties, intending to be
legally bound, hereby agree that the following constitutes an amendment to the tenns and
conditions of the stated contract (this "Amendment").

1. In accordance to Article 2.01 of the Original Asset Purchase Agreement the Purchase Price or
the Estimated Purchase Price shall be amended to three hundred seventy two thousand dollars
($372,000). Accordingly, paragraph 2.0l(ii) of the Original Asset Purchase Agreement is hereby
deleted and replaced with the following:

               (ii)    Thereafter, payments shall be made to Seller without offset or other
                       deduction as follows:
                       (A)    On January 1, 2015 $115,000.00 (receipt acknowledged)
                       (B)    On January 1, 2016 $81,000.00
                       (C)    On January 1, 2017 $98,000.00
                       (D)    On January 1, 2018 $78,000.00

                       Total Purchase Price:          $372,000.00

         Although some payments are being deferred, the Seller's entitlement to these payments is
 fully earned as of September 1, 2015.

 2. In accordance to Article 2.03(b) of the Original Asset Purchase Agreement, Corson shall
 commit to provide on an as"needed basis a minimum of twenty four (24) hours of bis
 professional and managerial services to and for the benefit of Purchaser and/or its clients on a
 weekly basis. Compensation for these services shall be one hundred dollars ($100) per
 chargeable hour and shall be charged to clients at three hundred dollars ($300) per hour rate.
 Payment of the $100 per chargeable hour is only for collected hours in cash net of any
 administrative fees and expenses. Notwithstanding the foregoing, Corson shall receive no less
 than four thousand dollars ($4,000) on a monthly basis beginning January 1, 2016, payable in
 arrears in two installments of $2,000 on the 1st and 16th day of each month. A "True Up"
 adjustment for any underpayment based on actual collected hours shall be made and, in the case
 of an underpayment, paid on the 16th of the month following the underpayment.

 3. The first sentence of Article 2.04 of the Original Asset Purchase Agreement is hereby deleted
 and replaced with the following:




                                        Exhibit B - Page 2 of 3
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               In addition to Corson• s base draw for services rendered to clients,
               Corson shall be paid on the 10 day ofJanuary 2017, a sum equal to
                                              th


               10% of any of the amount in excess of$460,000.00 net revenues
                                                                                 Corson
               collected from January 1, to December 31, 2016 on any new clients
               introduces to Purchaser following the Acquisition Date.
                                                                           Original Asset
 The parties reaffirm no other terms or conditions of the above mentioned
                                                                       be negated or changed as a
 Purchase Agreement not hereby otherwise modified or amended shall
                                                                     d conflict or inconsistency
 result ohhis here stated Amendment. If there is any actual or claime
                                                                        then the provisions of this
 between this Amendment and the Original Asset Purchase Agreement,
                                                                      of the parties.
 Amendment shall govern and control the rights, duties and remedies

  Dated:     2f lL( 2-,"b \lo
                                                       Anton & Chia, LLP, a California
                                                       Limited Liability Partnership


                                                       By:--.::=------------
                                                            Gregory Wahl, Its Managing Partner




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                             Exhibit C - Page 1 of 4
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                                                        Main Document    Page 48 of 53                                                                     JUD-100
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, state bar number, and address):                                               FOR COURT USE ONLY

  L Scott Keehn (61691)
-KEEHN LAW GROUP, APC
  501 W. Broadway, Suite 1025, San Diego, CA 92101
            TELEPHONE NO.: (619) 400-2200     FAX NO. (Optional). (619) 400-2201

  E-MAIL ADDRESS (Optior,at): scottk@keehnlaw.com

     ATTORNEY FOR /NameJ: Plaintiffs, W. Michael Corson & Co, APC, et al.                                                      ;J
                                                                                                                                         ' ~"'
                                                                                                                                         ib
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF San Diego                                                                             of tho    Su,oerior Gourt
       sTREETADDREss, 325 S. Melrose Drive

       MAILING ADDRESS: 325 S. Melrose Drive
                                                                                                                             MAR - 2 2018
      CITY AND ZIP CODE: Vista 92081

           BRANCH NAME: North County Branch
                                                                                                                        By: A Wagoner
            PLAINTIFF: W. Michael Corson & Co, APC, and Michael Corson


             DEFENDANT:            ANTON & CHIA, LLP, et al.
                                                                                                              CASE NUMBER:
                                                  JUDGMENT
         D          By Clerk             IZI   By Default           D         After Court Trial               37-2017-00017223-CU-BC-NC
         0          By Court             D     On Stipulation       D         Defendant Did Not
                                                                              Appear at Trial

                                                                             JUDGMENT
1. [2J BY DEFAULT
              a. Defendant was properly served with a copy of the summons and complaint.
              b. Defendant failed to answer the complaint or appear and defend the action within the time allowed by law.
              c. Defendant's default was entered by the clerk upon plaintiffs application.
              d.    D Clerk's Judgment (Code Civ. Proc.,§ 585(a}). Defendant was sued only on a contract or juqgment of a court of
                      this state for the recovery of money.
              e.    0      Court Judgment (Code Civ. Proc., § 585(b)). The court considered
                           (1)       D
                                    plaintiffs testimony and other evidence.
                           (2)       0
                                    plaintiffs written declaration (Code Civ. Proc.,§ 585(d)).

2.   0        ON STIPULATION
              a. Plaintiff and defendant agreed (stipulated) that a judgment be entered in this case. The court approved the stipulated
                 judgment and
              b.     D the signed written stipulation was filed in the case.
              c.     D       the stipulation was stated in open court         D    the stipulation was stated on the record.

3.   D        AFTER COURT TRIAL The jury was waived. The court considered the evidence.
              a.     The case was tried on (date and time):
                     before (name ofjudicial officer):
              b.     Appearances by:
                     D       Plaintiff (name each):                                              D      Plaintiff's attorney (name each):
                             (1)                                                                        (1)

                             (2)                                                                        (2)
                     D       Continued on Attachment 3b.

                     D       Defendant (name each):                                              D       Defendant 's attorney (name each):
                             (1)                                                                        (1)

                             (2)                                                                        (2)
                     D       Continued on Attachment 3b.

               c.    D       Defendant did not appear at trial. Defendant was properly served with notice of trial.


               d.    D       A statement of decision (Code Civ. Proc.,§ 632)        D     was not    D        was       requested.

                                                                                                                                                              Page 1 of2

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                                                                         JUDGMENT                                                   Code of Civil Procedure, §§ 585, 664,6
  JUD-100 [New January 1. 2002]
                Case 8:18-ap-01181-TA                      Doc 1 Filed 10/06/18 Entered 10/06/18 15:15:29                                     Desc
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                      \V. Michael Corson & Co, APC, and Michael Corson
-     PLAINTIFF:                                                                                                   CASE NUMBER:

                                                                                                                    37-2017-00017223-CU-BC-NC
 DEFENDANT:           ANTON & CHIA, LLP, et al.
                  JUDGMENT IS ENTERED AS FOLLOWS BY:                           l2J     THECOURT                D       THECLERK
4.     D         Stipulated Judgment. Judgment is entered according to the stipulation of the parties.

5. Parties. Judgment is
       a.   [2J     for plaintiff (name each):                                              c.     D     for cross-complainant (name each):
                     W. Michael Corson & Co (See Attachment One)
                     and against defendant (names):                                                      and against cross-defendant (name each):
                     ANTON & CHIA, LLP (See Attachment One)
                     0       Continued on Attachment       D'r\(., (Set)                                D      Continued on Attachment 5c.

       b.   D       for defendant (name each):                                                d.   D     for cross-defendant (name each):



6. Amount.
       a.   0       Defendant named in item 5a above must                              c.   D          Cross-defendant named in item 5c above must pay
                    pay plaintiff on the complaint:                                                    cross-complainant on the cross-complaint:


     (1)    0         Damages                          $226,933.32                      (1)        D     Damages                      $
     (2)    0         Prejudgment                      $28,517.04                       (2)        D     Prejudgment                  $
                      interest at the                                                                    interest at the
                      annual rate of     10       %                                                      annual rate of           %
     (3)    D         Attorney fees                    $                                (3)        D     Attorney fees                $

     (4) [2J          Costs                            $ 603.00                         (4)        D     Costs                        $
     (5)    D         Other (specify):                 $                                (5)        D     Other (specify):             $


      (6)             TOTAL                            $   256,350.36                   (6)              TOTAL                        $

       b.   D       Plaintiff to receive nothing from defendant                        d.   D          Cross-complainant to receive nothing from
                    named in item 5b.                                                                  cross-defendant named in item 5d.
                   D     Defendant named in item 5b to recover                                         D     Cross-defendant nameQ in item 5d to recover
                         costs $                                                                             costs $
                           D      and attorney fees $                                                        D     and attorney fees $


7. [2J Other (specify):
                See Attachement One, Item 7

                                                                                              RONALD F. FRAZIER
Date:             MAR - 2 2018                                        D
                                                                                                           JUDICIAL OFFICER



Date:                                                                 D      Clerk, by _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , Deputy


 (SEAL)                                                      CLERK'S CERTIFICATE (Optional)
                                          I certify that this is a true copy of the original judgment on file in the court.

                                          Date:



                                                                           Clerk, by   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , Deputy


                                                                                                                                                     Page 2 of 2

     JUD-100 [New January 1, 2002]
                                                                           JUDGMENT
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                                                                                             CASE NUMBER:
SHORT TITLE:
    W. Michael Corson & Co., APC v. ANTON & CHIA, LLP                                          37-2017-00017223-CU-BC-NC

                                                         ATTACHMENT (Number):        _O_n_e_ _ _ __
                                       (This Attachment may be used with any Judicial Council form.)

Item 5a.
for plaintiffs: W. MICHAEL CORSON & Co., APC, a California professional corporation and MICHAEL
CORSON, an individual.

and against defendants: ANTON & CHIA, LLP, a California limited liability partnership, GREGORY
WAHL, an individual.

Item 7. (other)
A. FINDINGS OFF ACT
   To the extent that any of the following Findings of Fact include a Conclusion of Law, then they shall be
deemed to be part of the Conclusions of Law set forth below.
      1. BREACH OF CONTRACT

           1.1. Plaintiffs and Defendants entered into a binding contractual relationship. The terms of that
contractual relationship were memorialized in the" Asset Purchase Agreement" dated August 31, 2014
(the"8/31/14 APA''), which was later modified by the"Amendment to Asset Purchase Agreement"dated
February 16, 2016 (the"Amended APA"). The 8/31/14 APA and the Amended APA constituted and are
hereinafter referred to as the ncontract".

                  1.2. Plaintiffs have performed, or were excused from performing all of their obligations under the
Contract.

                  1.3. Defendants breached duties owed to Plaintiffs under the Contract.

           1.4. Plaintiffs suffered compensable damages as a result ofDefendants'breach of the Contract in the
principal amount of $226,933.32.

         2. INTENTIONAL MISREPRESENTATION

          2.1. Defendants made or caused to be made multiple false representations to Plaintiffs, and were
guilty of multiple acts of wrongful concealment and non-disclosure of material facts.

         2.2. Defendants had actual knowledge of both the falsity of facts misrepresented and the materiality
of those which were concealed or left undisclosed. Defendants were guilty of scienter in making the false
representations as well as concealing or failing to disclose facts which were material.

        2.3. The false representations and concealment/nondisclosure described in paragraph 2.2 above were
made with the intention to defraud Plaintiffs.

          2.4. Plaintiffs were ignorant of the falsity of the misrepresentations and unaware of the material facts
that had been concealed or undisclosed. Plaintiffs justifiably relied upon the false representations and implied
representation that no material facts were concealed or undisclosed.



(If the item that this Attachment concerns is made under penalty of perjury, all statements in this          Page    1     of      4
Attachment are made under penalty of perjury.)
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                                      (This Attachment may be used with any Judicial Council form.)

        2.5. As a result of the misrepresentations and concealment/nondisclosure described iu above Plaintiffs
suffered damages in the principle amount of $226,933.32.

       3. FRAUDULENTCONCEALMENT

         3 .1. Defendants made representations of material fact but did not disclose facts which materially
qualify the facts disclosed, or which when left undisclosed rendered the disclosure likely to rµislead.

       3.2. The undisclosed material facts were known or accessible only to Defendants, anp_ they knew that
they were not known to or reasonably discoverable by Plaintiffs.

         3.3. The Defendants actively concealed discovery of the undisclosed/suppressed facts from the
Plaintiffs.

         3.4. Defendants had a did duty to disclose the concealed and suppressed fact to Plaintiff because (a) the
implied duty of good faith and fair dealing arose as a result of contract negotiations between the parties, and/or
(b) disclosure of the concealed and/or suppressed facts was necessary in order to prevent the selectively
disclose facts from being misleading.

        3.5. Defendants intended to defraud the Plaintiffs by intentionally concealing or suppressing the
material facts.

         3.6. Plaintiffs were unaware of the concealed and/or suppressed facts, would not have acted as they
did if they knew the concealed and/or suppressed facts.

       3.7. As a result of Defendants' concealment and/suppression of material facts Plaintiffs sustained
damage in the principle amount of $226,933.32.

       4. NEGLIGENT MISREPRESENTATION

         4.1. The misrepresentations desctibed in paragraph 2.1 above, constituted the misrepresentations of
past or existing material facts which were made without reasonable ground for believing them to be true, and
were made with the intent to induce Plaintiffs' reliance on the facts as misrepresented.

              4.2. Plaintiffs were ignorant of the truth, and justifiably relied upon the misrepresent~tions made.

         4.3. As a result of the misrepresentations described in paragraph 4.1 above, Plaintiffs sustained damage
in the principle amount of $226,933.32.




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              5. CIVIL CONSPIRACY

             5.1. Defendant Anton & Chia, LLP ("A&C") together with its Managing Partner (CEO) Gregory
Wahl ("Wahl"), Bob Alshire and others acting purposefully in concert with them (hereinafter collectively
referred to as the "Conspirators") formed a conspiracy to acquire Plaintiffs' seasoned accounting practice as
part of A&Cs business strategy of growing its accountancy practice by the acquisition of smaller seasoned
accounting firms (the "Conspiracy").

           5.2. The Conspirators implemented the Conspiracy by engaging in the specific and wrongful acts
described in paragraphs 2.1 and 3.1 above.

          5.3 As a result of wrongful acts committed in furtherance of the Conspiracy, Plaintiffs to sustained
damage in the principle amount of $226,933.32.

B.      CONCLUSIONS OF LAW

     To the extent that any of the following Conclusions of Law include a Finding of Fact, tj:ien they shall
be deemed to be part of the Findings of Facts set forth above.

         1.       BREACH OF CONTRACT

          Plaintiffs are entitled to recover damages for Defendants' breach of contract in the principle amount
of $226,933.32.

         2.       INTENTIONAL MISREPRESENTATION (FRAUD)

            Plaintiffs are entitled to recover damages for Defendants' intentional misrepresentation ( fraud) in
the principle amount of $226,933.32.

         3.        FRAUDULENTCONCEALMENT

           Plaintiffs are entitled to recover damages for Defendants' fraudulent concealment in the principle
amount of $226,933.32.

         4.         NEGLIGENT MISREPRESENTATION

            Plaintiffs are entitled to recover damages for Defendants' negligent misrepresentation in the
principle amount of $226,933.32.




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SHORT TITLE:
     W. Michael Corson & Co., APC v. ANTON & CHIA, LLP                                         37-2017-00017223-CU-BC-NC

                                                         ATTACHMENT (Number):        _O_n_e_ _ _ __
                                      (This Attachment may be used with any Judicial Council fonn.)

            5. CIVIL CONSPIRACY

           5 .1. The Conspiracy described in part A at paragraph 5 .1 above was wrongful as to Plaintiffs, and
imposed civil liability on each of the Conspirators.

            5.2 However, civil conspiracy is not a tort but rather a theory of joint liability whereby all who
cooperate in another's wrong may be held liable.

             5.3 Defendants A&C and Wahl are jointly and severally liable for all of the damages incurred by
Plaintiffs described above.

           6.       SINGLE RECOVERY

               Although all of the damages described above are recoverable under the different legal the01ies
pled in the original Verified Complaint (ROA 1) those damages actually result from the viol&tion of the same
primary right. Accordingly, plaintiffs' are entitled to a single recovery of compensable damages in the amount
of $226,933.32.

C.        Plaintiffs are entitled to recover Pre-Judgment interest in the amount of $28,814.04.

D.    Defendants shall pay Plaintiffs Post-Judgment interest at the rate of $70.23 per day from the date of
entry of Judgment until paid in full.

E.        Judgment is Joint and Several against both Defendants A&C and Wahl.




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